Case 2:21-cv-01248-ER   Document 24-1   Filed 02/01/22   Page 1 of 68




                        EXHIBIT A
  Case 2:21-cv-01248-ER   Document 24-1   Filed 02/01/22   Page 2 of 68

                            Roy Williams
                          December 9, 2021



       IN THE UNITED STATES DISTRICT COURT
     FOR THE EASTERN DISTRICT OF PENNSYLVANIA


ROY LEE WILLIAMS                      :
                                      :
       vs.                            :
                                      :
JOHN WETZEL                           : NO: 2:21-CV-1248



                       - - -
              Collegeville, Pennsylvania
              Thursday, December 9, 2021
                       - - -


           ORAL DEPOSITION of ROY LEE WILLIAMS,
taken pursuant to notice, held virtually,
commencing at 11:33 a.m., before Angela M. King,
RPR, Court Reporter - Notary Public there being
present.
                          -   -   -


              STREHLOW & ASSOCIATES
       FULL SERVICE COURT REPORTING AGENCY
            54 FRIENDS LANE, SUITE 116
           NEWTOWN, PENNSYLVANIA 18940
                  (215) 504-4622
             SERVING NJ, PA, NY & DE




                  STREHLOW & ASSOCIATES, INC.
                        (215) 504-4622
       Case 2:21-cv-01248-ER   Document 24-1   Filed 02/01/22   Page 3 of 68

                                 Roy Williams
                               December 9, 2021

                                                                               Page 2
1
2       A P P E A R A N C E S
3           (All Via Video)
4
5    OFFICE OF ATTORNEY GENERAL
     BY: KATHY A. LE, Esquire
6    The Phoenix Building
     1600 Arch Street
7    Philadelphia, Pennsylvania 19103
     Phone: (215) 560-2141
8    Email: kle@attorneygeneral.gov
       Representing the Defendant
9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24


                       STREHLOW & ASSOCIATES, INC.
                             (215) 504-4622
       Case 2:21-cv-01248-ER    Document 24-1   Filed 02/01/22   Page 4 of 68

                                 Roy Williams
                               December 9, 2021

                                                                                Page 3
1                              I N D E X
2
3         WITNESS                                                PAGE
4         ROY LEE WILLIAMS(Sworn)                                   4
5
6         EXAMINATION
7         BY: MS. LE                                                4
8
9
10
11                       E X H I B I T S
12   NUMBER                    DESCRIPTION                       PAGE
13              (At this time, no exhibits were marked
14   by the court reporter.)
15
16
17
18
19
20
21
22
23
24


                       STREHLOW & ASSOCIATES, INC.
                             (215) 504-4622
          Case 2:21-cv-01248-ER   Document 24-1   Filed 02/01/22   Page 5 of 68

                                    Roy Williams
                                  December 9, 2021

                                                                                  Page 4
1                                 -   -   -
2                        THE STENOGRAPHER:        Good morning.
3              My name is Angela King, your court
4              reporter.     We are taking this deposition
5              via Zoom with all parties in remote
6              locations.
7                                 -   -   -
8                        ROY LEE WILLIAMS, having been duly
9    sworn, was examined and testified as follows:
10                                -   -   -
11                       THE STENOGRAPHER:        Just state your
12             full name for the record, please.
13                       THE WITNESS:         Roy Lee Williams.
14                       THE STENOGRAPHER:        Thank you.
15                       THE WITNESS:         You're welcome.
16                                -   -   -
17                            EXAMINATION
18                                -   -   -
19   BY MS. LE:
20   Q.    Mr. Williams, I will introduce myself again on
21   the record.       My name is Kathy Le.         And I am
22   representing the defendant in this case that you
23   have filed against Secretary Wetzel.
24         I want to ask you, have you ever been deposed


                          STREHLOW & ASSOCIATES, INC.
                                (215) 504-4622
          Case 2:21-cv-01248-ER   Document 24-1   Filed 02/01/22   Page 6 of 68

                                    Roy Williams
                                  December 9, 2021

                                                                                  Page 5
1    before?
2    A.    No.
3    Q.    Okay.    So, I will give you a few ground rules
4    that will tell you how it's going to go.                And
5    hopefully, that will make the morning go a little
6    more smoothly.
7          So in the deposition, I will ask you a series
8    of questions.       And all I ask is that you answer
9    those questions to the best of your memory and
10   your knowledge.        If the ask you something and you
11   don't remember, it's okay to tell me you don't
12   remember.      Do your best to try to remember.               But
13   if the answer is you don't know or you don't
14   remember it, that's fine.
15         I understand that, you know, you don't have
16   anything in front of you.           So again, this is --
17   it's not a memory test.          It's just to the best
18   that you can do, okay?
19   A.    Okay.
20   Q.    And when I ask you a question, please, this is
21   for the sake of the record because there will be a
22   written transcript of this afterwards.               Please,
23   answer all of my questions verbally.
24         So for example, when I ask you a question, if


                          STREHLOW & ASSOCIATES, INC.
                                (215) 504-4622
          Case 2:21-cv-01248-ER   Document 24-1   Filed 02/01/22   Page 7 of 68

                                    Roy Williams
                                  December 9, 2021

                                                                                  Page 6
1    the answer is yes, instead of just nodding your
2    head or saying uh-huh, actually say yes.
3    A.    Okay.
4    Q.    And the same goes if it's no, don't just shake
5    your head or say uh-uh, say no.              And we all do it,
6    so I will remind you if needed.
7          When I ask you a question, if you don't
8    understand the question or you need me to clarify,
9    you can ask me to do so.          But if you answer the
10   question, I will assume that you understood it.
11         Is that fair?
12   A.    Yes.
13   Q.    During the course of the deposition, I ask
14   that you, please, allow me to completely finish my
15   question, finish talking before you start
16   answering.       And I will, likewise, allow you to
17   completely finish saying your answer, completely
18   finish before I ask my next question.
19         And again, this is for the sake of the record
20   because the court reporter can't write down, you
21   know, two people talking over each other.
22         Is that fair?
23   A.    Yes.    Yes.
24   Q.    Okay.    All right.      So, let's get started.


                          STREHLOW & ASSOCIATES, INC.
                                (215) 504-4622
          Case 2:21-cv-01248-ER   Document 24-1   Filed 02/01/22   Page 8 of 68

                                    Roy Williams
                                  December 9, 2021

                                                                                  Page 7
1          Mr. Williams, again, this deposition relates
2    to the case that you have filed in the Eastern
3    District of Pennsylvania, the US Court.                I -- the
4    complaint, obviously, I have reviewed.
5          But if you could, please, explain to me what
6    exactly -- I understand that your lawsuit relates
7    to the confinement of capital case inmates in what
8    you consider a solitary confinement.
9          What exactly are you looking to be the remedy
10   out of this?       What do you want out of this lawsuit
11   that you are filing?
12         Are you looking for a change in your housing
13   status?       Are you looking for a change in some
14   other status?       Are you looking for monetary
15   relief?
16         I am trying to just understand what exactly it
17   is that you are seeking with this lawsuit.
18   A.    Okay.     Monetary relief.
19   Q.    Okay.     What is your current housing status,
20   Mr. Williams?
21         Is it accurate for me to represent that you
22   are currently housed at SCI Phoenix?
23   A.    Yes.
24   Q.    Okay.     And what is your housing status at SCI


                          STREHLOW & ASSOCIATES, INC.
                                (215) 504-4622
          Case 2:21-cv-01248-ER   Document 24-1   Filed 02/01/22   Page 9 of 68

                                    Roy Williams
                                  December 9, 2021

                                                                                  Page 8
1    Phoenix?
2    A.    Right now, in terms of like we -- I guess we
3    are still considered Level 5.            We are just -- in
4    terms of, like, how much out cell time that we
5    have you mean?
6          Is that your question?
7    Q.    However you understand --
8    A.    Can you re --
9    Q.    Yes.    So you are -- what housing unit are you
10   housed in.
11   A.    Okay.
12   Q.    And then, we will get into the details of
13   that.     But just, what is your status?
14   A.    Okay.    Okay.    We are -- I'm housed in P Unit
15   on the east side.
16   Q.    Did you say P as in Peter?
17   A.    Yes.    And Paul, yes, P.       PB, that's my pod, B.
18   I'm in cell 1014.        And I work for activities, the
19   Activities Department.
20         In January -- well, now we are allowed out
21   cell time.       We're out cell time.        In January, they
22   are going to let us out for out -- jobs off the
23   unit.     So, I applied for a -- to work in a barber
24   shop to get my barber's license.


                          STREHLOW & ASSOCIATES, INC.
                                (215) 504-4622
          Case 2:21-cv-01248-ER   Document 24-1   Filed 02/01/22   Page 10 of 68

                                    Roy Williams
                                  December 9, 2021

                                                                                   Page 9
1           So, that's pretty much it as far as --
2    Q.     Okay.    And it's my understanding,
3    Mr. Williams, that as of December 3, 2019, that
4    the Department of Corrections altered the
5    administration of the Capital Case Units to allow
6    more -- for it to perform more like a general
7    population unit.         That's my understanding.
8           Is that accurate?
9    A.     Yes.
10   Q.     Okay.    And is that the current unit that you
11   are -- your current situation, is that you are
12   housed in this Capital Case Unit but with the
13   additional liberties, I guess, the less
14   restrictive movements?
15   A.     Yes.    Yes.   The less restrictive movements,
16   exactly.
17   Q.     Okay.    So then, I would like to clarify --
18   well, actually, let me back up.
19          So prior to this change, this alteration to
20   the Capital Case Unit, were you housed in the
21   Capital Case Unit under the greater restrictions
22   where it operated more like a -- the restricted
23   housing unit?
24   A.     Yes.    They call it maximum administrative


                           STREHLOW & ASSOCIATES, INC.
                                 (215) 504-4622
          Case 2:21-cv-01248-ER   Document 24-1   Filed 02/01/22   Page 11 of 68

                                    Roy Williams
                                  December 9, 2021

                                                                               Page 10
1    custody, yes.
2    Q.     And do you remember -- actually, let me back
3    again.       I know that prior to your arrival at SCI
4    Phoenix, you were previously housed at -- you were
5    previously living at SCI Greene; is that right?
6    A.     Yes, ma'am.
7    Q.     When did you transfer from SCI Greene to SCI
8    Phoenix?
9    A.     I believe it was in 1996 or '97.            I think July
10   of '97 from Graterford.           It was either '96 or '97.
11   Q.     Okay.    I'm sorry.     Let me clarify my question.
12          Are you saying that in '96 or '97 you went to
13   Greene from the former SCI Graterford?
14   A.     Yes.
15   Q.     Okay.    My -- so you were briefly at SCI
16   Graterford, is my understanding, from when you
17   were still, you know, having your trial and before
18   you were fully sentenced?           No?
19   A.     No.
20   Q.     How long were you at SCI Graterford back
21   before you transferred to Greene in '96 or 97?
22   A.     I went to SCI Graterford from the county --
23   from the county jail in 1993.             December of 1993.
24   Q.     Okay.


                          STREHLOW & ASSOCIATES, INC.
                                (215) 504-4622
          Case 2:21-cv-01248-ER   Document 24-1   Filed 02/01/22   Page 12 of 68

                                    Roy Williams
                                  December 9, 2021

                                                                               Page 11
1    A.     And I stayed there until I was transferred to
2    SCI Greene.
3    Q.     Okay.    Thanks.
4           Do you remember when you were convicted and
5    sentenced?       What year?
6    A.     Yes.    199 -- February of 1992.
7    Q.     Okay.    And so in roughly '96 or '97, you
8    transferred from SCI Graterford to SCI Greene?
9    A.     Yes.
10   Q.     And then, when did you transfer from SCI
11   Greene to SCI Phoenix?
12   A.     July 2020.
13   Q.     So between the time that you were initially
14   transferred to SCI Greene in roughly '96 or '97
15   until July of 2020, you were housed at SCI Greene
16   the entire time?
17   A.     Yes, ma'am.
18   Q.     Okay.    And during the time that you were at
19   SCI Greene from roughly the time that you started
20   there until the time that you left, were you
21   housed in the Capital Case Unit?
22   A.     Yes.    This was L Unit.
23   Q.     And so, you were at Greene until July of 2020
24   housed in the Capital Case Unit.


                          STREHLOW & ASSOCIATES, INC.
                                (215) 504-4622
          Case 2:21-cv-01248-ER   Document 24-1   Filed 02/01/22   Page 13 of 68

                                    Roy Williams
                                  December 9, 2021

                                                                               Page 12
1           At what point, if at all while you were at SCI
2    Greene, did the Capital Case Unit open up the
3    restrictions that we discussed earlier?
4    A.     I'm not -- I would go by the policy.              The date
5    of the policy, which would be December 3, 2019.
6    Q.     Yes.    That's the date the policy was issued,
7    yes.     So roughly, around then?
8    A.     Yes.
9    Q.     So while you were at Greene, you experienced
10   the relaxing of the restrictions?
11   A.     Yes.
12   Q.     So I would like to clarify, Mr. Williams, is
13   your -- my understanding of your complaint is with
14   regard to the -- what you describe as the very
15   restrictive nature of the Capital Case Unit.
16          Is your -- are your complaints limited to the
17   time before December 2019 when the Capital Case
18   Unit was -- you know, some of the restrictions
19   were lifted?        Or are you complaining about the
20   current restrictions on the Capital Case Unit, as
21   well?
22   A.     No.    It's not complaining about the current
23   restrictions.        It's from -- my initial enter into
24   the Department of Corrections in 1993 until


                          STREHLOW & ASSOCIATES, INC.
                                (215) 504-4622
          Case 2:21-cv-01248-ER   Document 24-1   Filed 02/01/22   Page 14 of 68

                                    Roy Williams
                                  December 9, 2021

                                                                               Page 13
1    December 3, 2019.
2    Q.     Okay.    When you were at SCI Graterford prior
3    to your transfer to SCI Greene, were you also
4    during that entire period where you were at SCI
5    Graterford, I believe you said, from roughly '93
6    until '96 or '97, were you also in the Capital
7    Case Unit during that entire time?
8    A.     Yes, J Block.
9    Q.     J Block.     So is it accurate for me to say
10   then, Mr. Williams, that the period of time that
11   you are complaining about is from the time that
12   you entered SCI Graterford until, roughly, when
13   the restrictions were lifted in December of 2019?
14   A.     Yes, ma'am.
15   Q.     Okay.    All right.
16          So then we will -- I will try to focus on that
17   time period.        Obviously, it's still a very lengthy
18   time period.        At least that clarifies for me, that
19   you are not talking about the current situation.
20          We are --
21   A.     Right.
22   Q.     -- focused on the situation prior to the
23   lifting of the restrictions.
24   A.     Yes.    Yes.


                           STREHLOW & ASSOCIATES, INC.
                                 (215) 504-4622
          Case 2:21-cv-01248-ER   Document 24-1   Filed 02/01/22   Page 15 of 68

                                    Roy Williams
                                  December 9, 2021

                                                                               Page 14
1    Q.     Okay.    A part of your complaint relates to
2    your -- your contention that you have been
3    diagnosed with severe mental -- mental health
4    issues?
5    A.     Yes.
6    Q.     Okay.    And in your complaint, you refer to and
7    attach some documents relating to a -- an episode
8    in 1979 where you were admitted to the
9    Philadelphia Psychiatric Center for suicidal
10   ideations?
11   A.     Yes.
12   Q.     How long were you admitted to the Philadelphia
13   Psychiatric Center on that occasion?
14   A.     For 90 days.
15   Q.     Okay.
16   A.     On that occasion, 90 days.
17   Q.     And did you, to your understanding, receive a
18   diagnosis of a mental health issue during that 90
19   days?
20   A.     Yes.
21   Q.     And what is your understanding of what your
22   mental health diagnosis was?
23   A.     That I was having -- severe depression and
24   suicidal ideation.           And I think it was, also, you


                          STREHLOW & ASSOCIATES, INC.
                                (215) 504-4622
          Case 2:21-cv-01248-ER    Document 24-1   Filed 02/01/22   Page 16 of 68

                                     Roy Williams
                                   December 9, 2021

                                                                                Page 15
1    know, placement in the, like, a structured
2    environment would be helpful, too.
3    Q.     You, also, wrote a reference in your complaint
4    as diagnosis or a clinical examination, two as a
5    matter of fact, in September of 1996.
6           Were those two examinations performed as a
7    result of -- well, let me rephrase.
8           Were those two examinations from 1996, did
9    those arise out of your criminal proceedings?
10   A.     Yes, ma'am.        For my PCRA proceedings.
11   Q.     Your PCRA proceedings?
12   A.     Yes, ma'am.
13   Q.     Were those examinations ordered by your legal
14   counsel?       I'm not asking anything about --
15   A.     No, no, no.
16   Q.     -- conversations.         Were they ordered by the
17   court?
18   A.     No.     I don't believe they were ordered by the
19   Court.       I believe my current counsel hired them to
20   do a clinical evaluation.
21   Q.     Okay.     Great.      Obviously, I don't want to know
22   anything about your conversations with counsel or
23   anything like that.            I just wanted to clarify
24   where those exams came from.             Okay.


                          STREHLOW & ASSOCIATES, INC.
                                (215) 504-4622
          Case 2:21-cv-01248-ER   Document 24-1   Filed 02/01/22   Page 17 of 68

                                    Roy Williams
                                  December 9, 2021

                                                                               Page 16
1           Between the time that you were admitted to the
2    Philadelphia Psychiatric Center in 1979 and the
3    examinations that you had in 1996, did you have
4    any other examinations by psychiatric
5    professionals?
6    A.     Yes.
7    Q.     Okay.    Can you list for me, to the best of
8    your ability, your memory, what other psychiatric
9    treatments or examinations you had between 1979
10   and the 1996 examinations?
11   A.     Sure.    I was still a juvenile at the time.              It
12   was at Friends -- I believe it was called Friends.
13   It's in Northeast Philadelphia, it's for
14   adolescents.        But I don't remember the doctor's
15   name or anything like that.            But I know that I
16   went there for treatment.           And I guess --
17   Q.     Do you remember -- I'm sorry.           I didn't mean
18   to cut you off.
19   A.     That's okay.
20   Q.     Do you remember approximately when -- you
21   know, what year that was?
22   A.     Probably around the same time frame.              So what
23   was that, '79.        So it probably -- it might even
24   have been before that.           It was all around the same


                          STREHLOW & ASSOCIATES, INC.
                                (215) 504-4622
          Case 2:21-cv-01248-ER    Document 24-1    Filed 02/01/22   Page 18 of 68

                                     Roy Williams
                                   December 9, 2021

                                                                                 Page 17
1    time.        It might have been '80.          Might have been
2    '78.     So, it's all around the same time frame.                  I
3    would say, maybe, between '77 and '80, maybe.
4    Q.     Okay.     And you said it was called Friends?
5    A.     Yes, Friends.         It's on Roosevelt Boulevard,
6    like, right around Sears -- Sears and Roebuck on
7    the Roosevelt Boulevard before you get to the
8    Oxford Circle.
9    Q.     Did it have any additional words in the name,
10   like, Friends Institute or something like that?
11   A.     No.     But I could -- I could -- I could call up
12   my mom and get that information to you if that's
13   all right.
14   Q.     Okay.     Great.      That would be great.
15   A.     Actually, I -- I'm sorry.          Actually, I could
16   get my lawyer.        My lawyers probably have all that
17   information.
18   Q.     Okay.
19   A.     Matter of fact -- okay.
20   Q.     That's fine.       I will -- we will get that
21   information, okay?
22   A.     Okay.
23   Q.     All right.     So, you said this was probably
24   roughly between '77 and '80 -- it was happening


                          STREHLOW & ASSOCIATES, INC.
                                (215) 504-4622
          Case 2:21-cv-01248-ER    Document 24-1   Filed 02/01/22    Page 19 of 68

                                     Roy Williams
                                   December 9, 2021

                                                                                 Page 18
1    around the same time as the -- when you were
2    admitted to the Philadelphia Psychiatric Center in
3    April of '79.
4           Did you -- what type of facility was Friends?
5    Was it a mental health hospital?              A juvenile
6    detention center?            What was it?
7    A.     It wasn't a juvenile detention center.                  It
8    wasn't a mental hospital.            It was, like, an
9    outpatient.        Like, you would just go there for
10   therapy.
11          My mom would take me there.            We would talk to
12   the doctor.        Have, like, therapy -- you know,
13   family therapy.        Yeah, just like that.
14   Q.     Got it.     So when you said it was, you know,
15   maybe roughly between '77 and '80, did you mean
16   that you were routinely going to Friends for
17   therapy?
18   A.     Yes, ma'am.
19   Q.     Okay.     And how often were you attending
20   therapy at Friends?
21   A.     That's a good question.          That's a good
22   question.        I don't remember.       I don't know.
23   Maybe -- that's a long time ago.              Maybe once a
24   week.      I know I went there quite a few times.


                          STREHLOW & ASSOCIATES, INC.
                                (215) 504-4622
          Case 2:21-cv-01248-ER   Document 24-1   Filed 02/01/22   Page 20 of 68

                                    Roy Williams
                                  December 9, 2021

                                                                               Page 19
1    Q.     Okay.    And were you attending therapy, you
2    know, individual therapy?           Or I know you mentioned
3    family therapy?
4    A.     Yes, it was family.
5    Q.     Family therapy?
6    A.     I'm sorry.     Yes, ma'am.
7    Q.     Okay.    So, were you attending with your mom?
8    A.     Yes.
9    Q.     Is it possible -- does this job your memory,
10   let me ask it that way.
11          If the therapy sessions at Friends resulted
12   from, you know, the doctors' recommendation when
13   your admitted at Philadelphia Psychiatric Center?
14   Because I recall in those records they mention
15   something about family therapy.
16          Does that ring a bell that maybe that's how
17   that came about?         If you don't remember, you don't
18   remember.       That's okay.      Just trying to see if it
19   jogs any memories.
20   A.     I'm not actually sure --
21   Q.     Okay.
22   A.     -- which came first.
23   Q.     That's fine.      So, do you believe that you
24   attended therapy at Friends for -- over the course


                          STREHLOW & ASSOCIATES, INC.
                                (215) 504-4622
          Case 2:21-cv-01248-ER    Document 24-1   Filed 02/01/22   Page 21 of 68

                                     Roy Williams
                                   December 9, 2021

                                                                                Page 20
1    of several years?
2    A.     No.     It wasn't several years.         It wasn't that
3    long I don't think.
4    Q.     Do you remember, roughly, what the time frame
5    might be that you were attending sessions there?
6    A.     I would say maybe a year at the most.               One
7    year at the most.            I don't remember it being over
8    a year.        It couldn't have been over a year.
9    Q.     Okay.     And do you remember if you received any
10   actual diagnosis during the time that you were in
11   therapy at Friends?
12   A.     No.     No, I don't.
13   Q.     All right.     So between the time that you
14   concluded your therapy sessions at Friends and
15   prior to, you know -- between that time which you
16   dated as maybe between '77 and '80 for about a
17   year at most until 1996 when you had those two
18   clinical examinations, can you remember any other,
19   you know, treatment or examinations that you had
20   with a psychiatrist, psychologist, mental health
21   professionals?
22   A.     No.
23   Q.     Okay.
24   A.     No.


                          STREHLOW & ASSOCIATES, INC.
                                (215) 504-4622
          Case 2:21-cv-01248-ER   Document 24-1   Filed 02/01/22   Page 22 of 68

                                    Roy Williams
                                  December 9, 2021

                                                                               Page 21
1    Q.     So after -- after the therapy at Friends and
2    this 90-days commitment at the Philadelphia
3    Psychiatric Center, nothing -- you don't recall
4    anything else until your two examinations in 1996.
5           Is that accurate?
6    A.     No.     I went back -- I went back there again.
7    Q.     You went back where again?
8    A.     PPC, Philadelphia Psychiatric Center.
9    Q.     Okay.
10   A.     I went back there for another 90 days on a
11   voluntary.
12   Q.     So the first -- the first visit that you had
13   there was involuntary?
14   A.     Yes.
15   Q.     And is that the one that took place in April
16   of 1979, the records of which you included in your
17   complaint?
18   A.     Yes.
19   Q.     Okay.     When -- to the best of your memory,
20   when did you return to PPC?
21   A.     Would have had to have been several months
22   after that.        I would say within three to six
23   months after that, that I was -- yeah.                Yeah.
24   Q.     Within three to six months of your first


                          STREHLOW & ASSOCIATES, INC.
                                (215) 504-4622
          Case 2:21-cv-01248-ER    Document 24-1   Filed 02/01/22   Page 23 of 68

                                     Roy Williams
                                   December 9, 2021

                                                                                Page 22
1    visit?
2    A.     Yes, ma'am.
3    Q.     Okay.     And how long did you stay voluntarily
4    at PPC on that second occasion?
5    A.     I believe it was 90 days again.
6    Q.     And do you recall if you received any
7    diagnosis during that time period on your second
8    visit?
9    A.     No.     I would have to check --
10   Q.     Um --
11   A.     I'm sorry.       Go ahead.
12   Q.     No.     I --
13   A.     I was going to say, I have it in -- I have the
14   records.       I would have to look at the records to
15   see what the diagnosis was.
16   Q.     That's fine.       Do you have the records in your
17   possession?           Or would you need to request them?
18   A.     No, I have them.
19   Q.     Okay.     Great.      So, I will go ahead and say it
20   on the record.          But I'll send you -- I will say it
21   now because the mail -- trying to get mail to you
22   back and forth is always so slow.
23          But if you could, please, send me whatever
24   records you have relating to, you know, your


                             STREHLOW & ASSOCIATES, INC.
                                   (215) 504-4622
          Case 2:21-cv-01248-ER   Document 24-1    Filed 02/01/22    Page 24 of 68

                                    Roy Williams
                                  December 9, 2021

                                                                                 Page 23
1    mental health status.
2    A.     I can send you everything.            I can get that
3    right to you.
4    Q.     Great.    That would be very helpful.            Thank
5    you, sir.
6           Okay.    All right.     So, do you recall any other
7    psychiatric treatment you received outside of
8    those two PPC visits and then the therapy at
9    Friends that we just discussed?
10   A.     No.
11   Q.     Okay.    After you were admitted -- no, excuse
12   me.     After you were entered DOC custody, your
13   first institution was SCI Graterford, I believe,
14   correct?
15   A.     Yes.
16   Q.     Okay.    When you were at SCI Graterford -- when
17   you first entered SCI Graterford, excuse me, did
18   you initially see somebody in the mental health
19   unit?
20   A.     In the initial, I don't remember that.                  I'm
21   quite sure I did, but I don't remember.                 Like, the
22   first day you go, you talk to a lot of people.
23   But maybe one of them was from the mental health
24   staff, but I don't remember.            I talked to a lot of


                          STREHLOW & ASSOCIATES, INC.
                                (215) 504-4622
          Case 2:21-cv-01248-ER    Document 24-1   Filed 02/01/22   Page 25 of 68

                                     Roy Williams
                                   December 9, 2021

                                                                                Page 24
1    people the first that I that, you know.
2    Q.     Did you --
3    A.     But after --
4    Q.     I'm sorry.     Go ahead.
5    A.     No, go ahead.         Go ahead.   I'm sorry.
6           No, I was going to say, afterwards, I did talk
7    to the mental health staff.
8    Q.     Okay.    During the time that you were at SCI
9    Graterford, did you routinely get to, you know,
10   speak to the mental health staff?
11   A.     Routinely, no.        Routinely, no.
12   Q.     Okay.    How frequently were you -- did you
13   speak with the mental health staff when you were
14   at SCI Graterford?           I know I'm trying to isolate
15   some period of time.
16   A.     Sure.
17   Q.     It was so long ago.         But again, to the best of
18   your memory?
19   A.     Well, there was one occasion that I requested
20   to see the Mental Health Department staff because
21   I was having some bad thoughts.               And after that, I
22   had a -- shortly after that I had a suicide
23   attempt.
24          And they put me in a POC cell, it's like an


                          STREHLOW & ASSOCIATES, INC.
                                (215) 504-4622
       Case 2:21-cv-01248-ER   Document 24-1    Filed 02/01/22   Page 26 of 68

                                 Roy Williams
                               December 9, 2021

                                                                             Page 25
1    isolation cell where they take all your clothes.
2    And for, I forgot how long it was.            Either 48
3    hours or 72 hours.        I'm not sure how long it was.
4    Then I got out.     And that's when I seen the mental
5    health staff, that I really remember talking to
6    the mental health doctor for the first time.
7        At that time -- so, I tried to commit suicide.
8    I made a noose out of a sheet.            And when the put
9    me in the cell, I told them that I was just faking
10   because I wanted to get out of the cell.               That --
11   not that I was faking, that I was -- I told them
12   that I was trying to get to another unit to make a
13   phone call just to get out the cell.
14       Basically, I was telling them anything just to
15   get out of the cell, the POC cell.            And that I was
16   okay.    That it was nothing wrong with me.             And
17   then, they put me on DC status for, like, six
18   months for trying to commit suicide for making a
19   noose.
20       And basically after that, I never really had
21   any contact with the Mental Health Department.
22   After that, I just dealt with everything on my own
23   as far as you know how I was feeling, depression
24   and --


                       STREHLOW & ASSOCIATES, INC.
                             (215) 504-4622
          Case 2:21-cv-01248-ER    Document 24-1   Filed 02/01/22   Page 27 of 68

                                     Roy Williams
                                   December 9, 2021

                                                                                Page 26
1    Q.     So after -- after your suicide attempt, you
2    said you were placed in a POC cell?
3    A.     Yes, ma'am.
4    Q.     Is that a -- does POC stand for psychiatric
5    observation cell?
6    A.     Yes.
7    Q.     And after that, you said you spoke to staff
8    from the mental health staff.             And afterwards, you
9    were placed on DC status?
10   A.     Right.    Before that, I told them that nothing
11   was wrong with me.           That I was okay.       You know,
12   just I wanted to get back to the unit just to get
13   out the cell.        That's what I told the doctor.
14          And he asked me -- I'm sorry.            Go ahead.
15          Oh.    And he asked me, did I want to get on
16   Prozac.       And I said, no, I didn't want to take any
17   medication.       And yeah, that was pretty much it.
18   It was really quick.           It wasn't that long of an
19   interview.
20          And then, yes, I was placed on DC status for
21   making the noose.            And DC status is where they
22   take all your property out of your cell, like,
23   your TV and radio.           And you only get to go to the
24   yard by yourself.            So basically, you're isolated


                          STREHLOW & ASSOCIATES, INC.
                                (215) 504-4622
          Case 2:21-cv-01248-ER   Document 24-1   Filed 02/01/22    Page 28 of 68

                                    Roy Williams
                                  December 9, 2021

                                                                                Page 27
1    on top of being isolated.           But you are still on
2    the unit with everybody else.            You don't go to a
3    separate unit.
4           That's how Graterford was back then.              You
5    still stayed in your cell.           They just took all
6    your property out of your cell.
7    Q.     I see.    So while you were on -- the time you
8    were on DC status, you were returned to the --
9    your regular housing unit, but they removed all
10   your possessions out of the cell?
11   A.     Yes, ma'am.
12   Q.     Okay.    And that lasted for roughly six months
13   you believe?
14   A.     Yes.
15   Q.     And I believe you said that after that
16   incident, you -- you no longer sought assistance
17   from the mental health staff?
18   A.     Yes.
19   Q.     Okay.    So then, the rest of your time at SCI
20   Graterford outside of that incident, you didn't
21   speak to anyone in the mental health staff?
22   A.     Not that I remember, no.
23   Q.     And then, what about when you transferred to
24   SCI Greene in whatever year it was '96/'97?


                          STREHLOW & ASSOCIATES, INC.
                                (215) 504-4622
          Case 2:21-cv-01248-ER   Document 24-1   Filed 02/01/22   Page 29 of 68

                                    Roy Williams
                                  December 9, 2021

                                                                               Page 28
1           Did you -- did you at -- during your time at
2    SCI Greene, do you remember speaking to the mental
3    health staff?
4    A.     Yes.
5    Q.     And I know that your time there was long, so
6    I'm asking for a very long period of time.
7           What do you remember were your interactions
8    with the mental health staff?            Did you have, you
9    know, routine checkups with them?              Or was it, you
10   know, sporadic based on incidence?
11   A.     So, there was staff that would come around
12   every now and then just -- you know, just doing
13   like a walk by.        How you doing?        So, that was the
14   mental health staff, I guess, doing their, you
15   know, weekly rounds or something like that.                   But
16   no out-of-cell interviews or anything like that.
17          Then I had a case of -- well, during that
18   time, we weren't allowed to bring water out in the
19   yard.      You can get misconduct for bringing water
20   out in the yard.         I had a minor case of heat
21   exhaustion.       And based off of that, they sent me
22   to the Mental Health Department.             They referred me
23   to the Mental Health Department.
24          So, that's when I remember talking to the


                          STREHLOW & ASSOCIATES, INC.
                                (215) 504-4622
          Case 2:21-cv-01248-ER    Document 24-1   Filed 02/01/22   Page 30 of 68

                                     Roy Williams
                                   December 9, 2021

                                                                                Page 29
1    mental health staff after my case of heat
2    exhaustion.
3    Q.     Do you remember approximately when that was?
4    A.     Let me think.         Took me a year to recover from
5    that.        It was really bad.      I couldn't -- it was
6    really bad.        I had a headache for, like, six
7    months straight.         I had to sleep sitting up.            I
8    couldn't lay down.           I would get real dizzy when I
9    laid down.       The sun would make me dizzy if I went
10   out to the sun.
11          So heat exhaustion, it was -- it affected me.
12   Took me a year to recover from it.               So I would
13   say, maybe around 2008 or 9 maybe or maybe even
14   later than that.         I'm not sure.        It was a while
15   ago.     But I could check the records and get that
16   to you.
17   Q.     Okay.
18   A.     I could have my -- I'm sorry.
19   Q.     No.     I was just saying okay.
20   A.     Oh, okay.
21   Q.     So that incident with the heat exhaustion,
22   that was the first time you had an actual
23   one-on-one session with mental health staff?
24   A.     Yes.


                          STREHLOW & ASSOCIATES, INC.
                                (215) 504-4622
          Case 2:21-cv-01248-ER   Document 24-1    Filed 02/01/22   Page 31 of 68

                                    Roy Williams
                                  December 9, 2021

                                                                                Page 30
1    Q.     Okay.     And then, what about after that
2    incident?
3    A.     After the restrictions were -- the relaxed
4    restric --
5    Q.     No, I'm sorry.        After the incident with the
6    heat exhaustion where they then sent you to --
7    referred you to mental health staff.
8           Did you then -- did you only have one session
9    with them?       Or did you then, you know, start
10   having routine sessions with them?
11          What happened after that is what I'm asking?
12   A.     I believe his name is Dr. Khan.             He came to
13   see me at least three or four times on the unit.
14   Q.     Could you repeat that name again?
15   A.     I believe it was Dr. Khan.            I'm not sure.       I
16   know he was Arab and he was Muslim.                I'm not --
17   his name might have been Dr. Khan.
18   Q.     Got it.     Okay.
19          So Dr. Khan -- we will assume that's his name
20   for these purposes -- saw you to the best of your
21   recollection three or four times on the unit
22   following the incident with the heat exhaustion?
23   A.     Yes.    And it was one other doctor other than
24   that.      I believe he came to see me twice.              I don't


                          STREHLOW & ASSOCIATES, INC.
                                (215) 504-4622
          Case 2:21-cv-01248-ER   Document 24-1   Filed 02/01/22   Page 32 of 68

                                    Roy Williams
                                  December 9, 2021

                                                                               Page 31
1    remember his name, but he was an Indian doctor.
2    Not Native American, but Indian from India.
3    Q.     Understood.
4    A.     Okay.
5    Q.     And this -- so this second doctor also came to
6    see you, you said, two times on the unit?
7    A.     Yes.
8    Q.     And that was in conjunction with when Dr. Khan
9    was seeing you?
10   A.     Yes, ma'am.
11   Q.     Now, were those two doctors seeing you
12   together, or were they seeing you separately?
13   A.     Separately.
14   Q.     And do you recall if Dr. Khan or this other
15   doctor made any kind of diagnosis with regards to
16   your mental health?
17   A.     No, I do not.
18   Q.     After those visits with Dr. Khan and the
19   Indian doctor, do you remember any other
20   interactions with the mental health staff while
21   you were at Greene?
22   A.     Yes, ma'am.     Yes.
23   Q.     Okay.    If you can relate those to me to the
24   best of your recollection.


                          STREHLOW & ASSOCIATES, INC.
                                (215) 504-4622
          Case 2:21-cv-01248-ER   Document 24-1   Filed 02/01/22   Page 33 of 68

                                    Roy Williams
                                  December 9, 2021

                                                                               Page 32
1    A.     Sure.    After those relaxed restrictions, we
2    had a mental health staff on the unit during the
3    daylight hours.        I forgot his name.         And I talked
4    to him -- you know, I would talk to him when he
5    would do his rounds.          He was a really nice guy.
6           I would just talk to him.         He helped me get
7    the DSM-5.       That's like a mental health book, the
8    DSM-5.       And I wanted to be in the CPS program,
9    enrolled in the CPS program, but they already had
10   full enrollment at the time.            And you had to be at
11   least a C or a B roster -- on the mental health
12   roster.
13          And he checked.       And he said, yes, I was a C
14   at one time, but I was downgraded to B roster.
15   And yeah, that was pretty much -- you know, I
16   would speak to him from time to time.                He was
17   really nice.        But not as far as on therapy, just
18   in general.
19   Q.     Do you remember that person's name?
20   A.     No.
21   Q.     Okay.
22   A.     No, I don't remember.
23   Q.     And you mentioned that you were trying to get
24   onto something, but it was full.             What was that


                          STREHLOW & ASSOCIATES, INC.
                                (215) 504-4622
          Case 2:21-cv-01248-ER   Document 24-1   Filed 02/01/22   Page 34 of 68

                                    Roy Williams
                                  December 9, 2021

                                                                               Page 33
1    again?
2    A.     CPS.
3    Q.     And what is --
4    A.     Certified peer specialist.
5    Q.     So you were -- you wanted to be, I don't know
6    if qualified is the right word, as a certified
7    peer specialist?         Or you wanted to be assigned to
8    a certified peer specialist?
9    A.     No, qualified.        To actually be a certified
10   peer specialist.
11   Q.     Got it.     And what is a certified peer
12   specialist?
13   A.     I know they have to take a lot of classes.                I
14   guess, they usually make rounds, you know, check
15   on the prisoners to make sure they are doing all
16   right.      Speak to them, listen to whatever they got
17   going on.        You know, just trying to help them out.
18   Q.     Got it.     But this all was after you said the
19   restrictions were relaxed?
20   A.     Yes.
21   Q.     Okay.     And you said after the restrictions
22   were relaxed, they -- the institution then had
23   mental health staff sitting in the unit every day
24   during the daylight hours?


                          STREHLOW & ASSOCIATES, INC.
                                (215) 504-4622
          Case 2:21-cv-01248-ER   Document 24-1   Filed 02/01/22   Page 35 of 68

                                    Roy Williams
                                  December 9, 2021

                                                                               Page 34
1    A.     Yes.    They had their own office, yes.
2    Q.     Got it.    And anybody was able to go and visit
3    them in their office during those hours?
4    A.     Yes.    Yes.
5    Q.     And prior to that, the mental health staff
6    would, I believe you said, come on the block and,
7    you know, do a round -- like, walk around the
8    cells and ask you -- maybe poke their head in and
9    ask you how you are feeling.            But they didn't have
10   an office on the block.
11          Is that accurate?
12   A.     Yes, ma'am.     Yes.
13   Q.     Prior to DOC relaxing the restrictions and
14   allowing the mental health staff to have an office
15   on the unit, were you able to have a one-on-one
16   session with the mental health staff if you
17   requested it?
18   A.     Yes.
19   Q.     So if they asked you during their rounds, you
20   know, how are you feeling and then you related to
21   them, you know, maybe I'm not feeling so great,
22   you know, could I talk to you one-on-one, would
23   they then sit with you one-on-one or schedule you
24   for an appointment?


                           STREHLOW & ASSOCIATES, INC.
                                 (215) 504-4622
          Case 2:21-cv-01248-ER   Document 24-1   Filed 02/01/22    Page 36 of 68

                                    Roy Williams
                                  December 9, 2021

                                                                                Page 35
1           How would that work?
2    A.     I believe they would schedule me for an
3    appointment.        Or maybe they might just -- I guess,
4    they would schedule me for an appointment.                    Or
5    maybe they might even -- depending on the
6    seriousness of it, they might even just take you
7    out the cell and put you in an office and maybe,
8    you know, see what's going on depending on what
9    you say, yeah.
10   Q.     But during that time, you didn't -- you never
11   requested to have a one-on-one session with them
12   or anything?
13   A.     No, ma'am.
14   Q.     Okay.     During the times when they were walking
15   around doing their check-ins with people, did you
16   ever relate to them, you know, I'm not feeling too
17   good?        I'm feeling kind of down?
18   A.     No.     I would always say I'm okay.
19   Q.     Do you remember if at any time you requested
20   assistance from the mental health unit or
21   expressed, you know, to the guards that you were
22   feeling down or, you know, suicidal and they
23   didn't -- you know, they didn't give you
24   assistance?        They didn't make an appointment for


                          STREHLOW & ASSOCIATES, INC.
                                (215) 504-4622
          Case 2:21-cv-01248-ER   Document 24-1    Filed 02/01/22   Page 37 of 68

                                    Roy Williams
                                  December 9, 2021

                                                                                Page 36
1    you at the mental health?
2    A.     No.     I never -- that never happened at Greene,
3    just at Graterford with the suicide and asking for
4    help then.       But at Greene, no.
5    Q.     Okay.
6    A.     But would they -- would they -- you're asking
7    would they just ignore that?
8    Q.     No.     I was just asking if you remember any
9    time where you had -- where they had ignored you?
10   A.     Oh, no, no, no.
11   Q.     In your time at SCI -- well, actually, let me
12   rephrase my question.
13          During your time with the DOC, to your
14   knowledge, has any mental health professional
15   given you any kind of diagnosis?
16   A.     No, not that I'm aware of.            But that doesn't
17   mean that they haven't because I was on a C roster
18   for a while.        And so, I just haven't seen the
19   records to see what I was diagnosed with from
20   their doctors, from the department's doctors.
21          It's kind of hard to get those records.
22   Q.     Yeah.
23   A.     They won't let me see the mental health
24   records.


                          STREHLOW & ASSOCIATES, INC.
                                (215) 504-4622
          Case 2:21-cv-01248-ER   Document 24-1   Filed 02/01/22   Page 38 of 68

                                    Roy Williams
                                  December 9, 2021

                                                                               Page 37
1    Q.     Okay.    But you are aware that you were on the
2    C Roster for some period of time?
3    A.     Yes.    That was -- yes.      They told me that I
4    was on the C Roster for some period of time, yes.
5    Q.     Okay.    Do you know if you are -- let me back
6    up.     Are you made aware of what your status is,
7    whether it -- you know, whether you are A, B or C?
8    A.     Just from that conversation with the doctor at
9    Greene when I was trying to be a CPS.                And he said
10   I was downgraded to a B Roster.
11   Q.     So you -- at this point in time, you have no
12   idea what your roster is?
13   A.     Status is, no.
14   Q.     Your status, okay.        But based on that
15   conversation with that therapist or doctor, we're
16   not sure what he was at Greene, he did tell you at
17   that time that at some point you were the C Roster
18   and then you had been switched to a B Roster?
19   A.     Yes, ma'am.
20   Q.     Okay.    Are there any -- let me back up.
21          Other than that incident at SCI Graterford
22   that you described to me earlier where you were
23   placed on DC status after your suicide attempt,
24   during the time where you were at SCI Greene, were


                          STREHLOW & ASSOCIATES, INC.
                                (215) 504-4622
          Case 2:21-cv-01248-ER    Document 24-1   Filed 02/01/22   Page 39 of 68

                                     Roy Williams
                                   December 9, 2021

                                                                                Page 38
1    you ever placed on DC status to your memory?
2    A.     Yes.    Oh, yes.
3    Q.     Do you remember when that was or --
4    A.     No.     But I could tell you what they were for,
5    but I don't remember.            It was --
6    Q.     Sure.
7    A.     Shadowboxing the yard.         One was for -- they
8    had the cable on in the cell.             And I -- and I had
9    like a wire hooked up instead of like real cable.
10   So, they got me for cable theft one time.                  So, I
11   got like 30 or 15 days for that.
12          And maybe, like, in our yard -- I don't know
13   if you've ever seen how the yards is, but like
14   cages, small cages.
15   Q.     I have seen it, yes.
16   A.     Okay.     So at that time, after a while, they
17   let us have basketballs but with no basketball
18   hoop or anything.            So what we would do, we take,
19   like, a string, tie it up in the corner to make,
20   like, a little triangle basketball hoop.                  So, I
21   got misconduct for that.
22          But I beat that one, but I did get a
23   misconduct for that, for tying it up.                 But I
24   didn't get DC for that.


                          STREHLOW & ASSOCIATES, INC.
                                (215) 504-4622
       Case 2:21-cv-01248-ER   Document 24-1   Filed 02/01/22   Page 40 of 68

                                 Roy Williams
                               December 9, 2021

                                                                            Page 39
1          Let me see what else.
2          Oh, at Graterford -- you want to know at
3    Greene -- well, Graterford, I was a little -- I
4    was going through because I had just came through.
5    I was a little rough.       And yeah, it was a little
6    rough.    And staff was a little, you know, hard on
7    us.
8          So one time I -- the guard -- I was praying
9    because I'm a Muslim and I was praying.             It was at
10   breakfast time.     And my tray was still on the
11   slot.    And they just threw my tray in the trash.
12   So, I got a little upset.        And I broke my chair
13   and took the wood and slung it at him.
14         But it didn't hit him, but I got a misconduct
15   for that.    And I think that's why I got
16   transferred to Greene based off of that incident.
17   And actually, Officer Harris became our -- he got
18   transferred to Greene.        And he was, actually, our
19   counselor at Greene.
20         So yeah, it wasn't a problem, you know, after
21   that.    It was just a quick incident.          But I
22   believe that separation -- when I was talking to
23   the mental health staff at Greene when I wanted to
24   be CPS and they -- you know, he was going over my


                       STREHLOW & ASSOCIATES, INC.
                             (215) 504-4622
          Case 2:21-cv-01248-ER    Document 24-1   Filed 02/01/22   Page 41 of 68

                                     Roy Williams
                                   December 9, 2021

                                                                                Page 40
1    record.        And that was still on my record that
2    incident with Officer Harris when I broke my
3    chair.
4           But other than that, at Greene it was all, you
5    know, just some minor stuff.             But I would say when
6    I broke the chair and tried to hit Officer Harris
7    with the chair, a piece of the wood of the chair,
8    that was, you know, probably the worst thing.
9    Q.     If you could just describe to me,
10   Mr. Williams.           You know, we discussed already that
11   the treatment that you're complaining about is
12   during the time that you were -- prior to when the
13   prison relaxed the Capital Case Unit.
14   A.     I'm not actually complaining about the
15   treatment.       That's not my complaint.
16   Q.     Okay.     Yes.     So I'm going to -- the question I
17   am leading up to is, if you can just describe to
18   me in your own words, clarify what conditions or,
19   what have you, are you focused on in terms of your
20   litigation?
21   A.     Okay, good.        I'm talking about failure to
22   accommodate, like, with programs that they had
23   available for us.            Like, out of cell program,
24   psychotherapy out of cell, group therapy, anger


                             STREHLOW & ASSOCIATES, INC.
                                   (215) 504-4622
          Case 2:21-cv-01248-ER   Document 24-1   Filed 02/01/22    Page 42 of 68

                                    Roy Williams
                                  December 9, 2021

                                                                                Page 41
1    manager.       It's a thing called WRAP.          It's a
2    wellness -- that's an acronym for it.                But it's
3    wellness -- I forgot the name of it, but it's
4    called WRAP.         And they have a lot of programs,
5    like, music therapy, art therapy.
6           So, all those things that the department --
7    all these services that they had, these mental
8    health services, we weren't allowed to have
9    because of our status of our capital sentence.
10          So basically, that's what I am saying.                 It's a
11   failure to accommodate claim.
12   Q.     Okay.     And this is, again, just as regards to
13   the time period before the Capital Case Unit was
14   relaxed.
15          Is that accurate?
16   A.     Yes, ma'am.
17   Q.     At this time, do you feel that you do have
18   access to those services?
19   A.     No.     They haven't started any of that, any of
20   those type of programs yet.            There is -- going to
21   be starting in January.
22   Q.     Okay.
23   A.     Like all the -- I'm sorry.
24   Q.     No.     No.   Go ahead.


                           STREHLOW & ASSOCIATES, INC.
                                 (215) 504-4622
          Case 2:21-cv-01248-ER   Document 24-1   Filed 02/01/22    Page 43 of 68

                                    Roy Williams
                                  December 9, 2021

                                                                                Page 42
1    A.     No.     Like, as far as the anger management
2    programs, you know, anything off the unit.                    Like I
3    mentioned earlier that I was -- I applied for --
4    be in the barber program to get my barber's
5    license.       So in January, they are going to be
6    opening it up.
7           And now, we just have out-of-cell time.                 But
8    we are not -- we don't have access to any program
9    services yet.
10   Q.     Okay.     So is your complaint -- so, you said
11   your complaint relates to the failure to
12   accommodate for out-of-cell programs.                And you
13   mentioned these therapy programs, various therapy
14   programs.
15          Is that -- is that the sole focus?             Or are
16   there other services or programs that you feel
17   that the DOC, you know, failed to provide to you
18   that are part of your complaint?
19   A.     Yes.    Any -- I'm saying, anything that they
20   have -- not just mental health programs, any
21   programs that we were entitled to have.
22          But yeah, I would say it's more geared towards
23   the mental health programs.            And by definition,
24   solitary confinement wouldn't allow that.                 Maximum


                          STREHLOW & ASSOCIATES, INC.
                                (215) 504-4622
          Case 2:21-cv-01248-ER    Document 24-1   Filed 02/01/22   Page 44 of 68

                                     Roy Williams
                                   December 9, 2021

                                                                                Page 43
1    administrative custody wouldn't allow for any
2    programs because you were locked in.                So they
3    wouldn't bring -- yeah, they wouldn't do anything.
4           So we decide to, you know.
5    Q.     Are you -- does your complaint encompass any
6    other restrictions of the Capital Case Unit other
7    than various, sounds like, group programs is a
8    thing that you've related to my earlier, mental
9    health ones, but other types of programs, as well?
10          You know, are you encompassing any other type
11   of, you know, restrictions --
12   A.     Yes.
13   Q.     -- that were placed on the Capital Case Unit?
14   A.     Yeah.    Like, the program services other than
15   mental health.        Like, being able to give
16   off-the-unit job, like -- as far as like my
17   barber's license.            So I would say, vocational
18   programs, as well.
19   Q.     Okay.
20   A.     And educational programs, you know, off the
21   unit.      I know they did have a GED in-cell program.
22   But anything, you know, that was -- that similarly
23   situated non-Capital prisoners with non-health
24   issues had access to, that's what, you know, my


                          STREHLOW & ASSOCIATES, INC.
                                (215) 504-4622
          Case 2:21-cv-01248-ER   Document 24-1   Filed 02/01/22   Page 45 of 68

                                    Roy Williams
                                  December 9, 2021

                                                                               Page 44
1    complaint is geared towards.
2           Did I say that right?        Is that okay?
3    Q.     Yeah.     Yeah.   I'm -- absolutely.        You are
4    doing great.
5    A.     Okay.
6    Q.     All my questions are just designed to help me
7    understand --
8    A.     Okay.
9    Q.     -- specifically what your complaint is about.
10   And that will help me answer it.
11   A.     Okay.
12   Q.     Did you -- do you remember any specific
13   programs that you ask to be -- to have access to?
14   A.     No.     Only time they were -- it was requested,
15   was from the ACLU requested, you know -- the
16   Department of Corrections, you know, wrote a
17   letter to Secretary Wetzel.            I think it was in
18   2017 based off of the -- their reforms that they
19   made, you know, based off their 2014 Department of
20   Justice Report on how the department was using
21   solitary confinement on prisoners with mental
22   health and intellectual disabilities.
23          And based off the Disabilities Rights
24   Settlement Agreement with the Department of


                          STREHLOW & ASSOCIATES, INC.
                                (215) 504-4622
          Case 2:21-cv-01248-ER    Document 24-1    Filed 02/01/22   Page 46 of 68

                                     Roy Williams
                                   December 9, 2021

                                                                                 Page 45
1    Corrections, they made reforms for non-Capitals
2    and changed their policies and, you know, gave
3    them access to the program.             But they didn't do it
4    for the Capitals.            So -- and yeah, that was the
5    only time that it was requested not by me
6    personally, but requested through the ACLU.
7           And the Department's response was that they
8    were going to continue their Capital Case Housing
9    Policy as administrative -- Maximum Administrative
10   Custody.       Which, in turn, brought about Reed v.
11   Wetzel.      And based off of Reed v. Wetzel, now
12   that's how we got the relaxed restrictions.                     And
13   now, we are going to be able to have access to
14   program services.
15          But my complaint is geared toward those past
16   violations of failure to accommodate.
17   Q.     And what do you -- if you can clarify, what do
18   you mean by that?            These -- you said your
19   complaint is geared towards these past violations.
20          What do you mean?
21   A.     Like when I first came in.             When I first had
22   the issue with the suicide attempt.                 And know they
23   had suicide prevention and all those things.                    And
24   they never -- their response was punitive based


                          STREHLOW & ASSOCIATES, INC.
                                (215) 504-4622
          Case 2:21-cv-01248-ER   Document 24-1   Filed 02/01/22    Page 47 of 68

                                    Roy Williams
                                  December 9, 2021

                                                                                Page 46
1    off of my suicide attempt.           So, that really turned
2    me away from the mental health department.                    And I
3    withdrew and just dealt with, you know, whatever I
4    was feeling myself.
5           Yeah.     So, yeah.    So I'm saying -- I guess I'm
6    saying that they had -- they had these programs
7    and these services available.            I don't believe
8    that it's -- relies on a request.              Solitary
9    confinement in -- by its definition doesn't allow
10   for it, for any of those programs.              Yeah, so --
11   yeah.      And yeah, it just doesn't allow for any of
12   those programs.
13          Can I say one thing?
14   Q.     Of course.
15   A.     It's not -- I remember Jennifer Bangel asking
16   me a question, so maybe I could just -- that it's
17   not -- I'm not challenging solitary confinement.
18   It's not a face -- it's how they apply solitary
19   confinement to a person, to an inmate who has
20   mental health -- mental health disability, how
21   they applied it to me.
22   Q.     Okay --
23   A.     I'm not challenging -- I'm sorry.
24   Q.     I was going to clarify.         So, you're saying


                          STREHLOW & ASSOCIATES, INC.
                                (215) 504-4622
          Case 2:21-cv-01248-ER   Document 24-1   Filed 02/01/22   Page 48 of 68

                                    Roy Williams
                                  December 9, 2021

                                                                               Page 47
1    that your complaint is -- is -- is an as-applied
2    challenge with regards to the application of
3    solitary confinement to you, Mr. Williams?
4    A.     Yes, ma'am.
5    Q.     Because of your mental health status?
6    A.     Yes, ma'am.
7    Q.     And I didn't mean to cut you off when you were
8    about to say something else.
9           Did you want to clarify something else?
10   A.     I don't even remember what I was going to say.
11   I'm sorry.
12   Q.     That's fine.
13   A.     That's okay.      It might pop up.
14   Q.     It's the nature of these, you know, remote --
15   A.     Delays.
16   Q.     -- depositions.       Yeah, exactly.       I mean,
17   they're a great tool in many ways.              But
18   inevitably, there is at least a little bit of a
19   slight lag.
20          And, Mr. Williams, did you ever, you know,
21   file or submit a grievance or anything like that
22   during the time, you know, all these years over
23   the years, did you ever file a grievance or
24   anything related to your inability to have access


                          STREHLOW & ASSOCIATES, INC.
                                (215) 504-4622
          Case 2:21-cv-01248-ER   Document 24-1    Filed 02/01/22   Page 49 of 68

                                    Roy Williams
                                  December 9, 2021

                                                                                Page 48
1    to any programs or what have you?
2    A.     Yes.
3    Q.     Do you remember -- well, let me ask you this.
4           Do you still have copies of those grievances
5    that you filed?
6    A.     Yes.
7    Q.     Okay, great.      So, I will ask you for copies of
8    those?      Do you --
9    A.     Well, I don't -- I'm sorry.            Go ahead.
10          I don't have -- what do I have?               I have the
11   numbers.
12   Q.     Oh, yeah.     If you have the numbers, go ahead
13   and give me the numbers.
14   A.     I can give them to you now.            Do you want the
15   numbers now?
16   Q.     Sure.    Happy to write them down.
17   A.     All right.     One is 916331.         Okay.     And the
18   other one is -- I don't have the other one, but I
19   can get that to you.
20   Q.     Okay.    That's not problem?
21   A.     Sorry.    I didn't bring that with me.
22   Q.     No problem.      Do you remember roughly when you
23   filed the grievances?
24   A.     Okay.    One -- okay.      Sure.


                          STREHLOW & ASSOCIATES, INC.
                                (215) 504-4622
          Case 2:21-cv-01248-ER    Document 24-1   Filed 02/01/22   Page 50 of 68

                                     Roy Williams
                                   December 9, 2021

                                                                                Page 49
1           So the first one -- the one that you have the
2    number for was 2/24/2021 -- February 24, 2021.
3    And the first one was December 21, 2020.
4    Q.     Sorry.    Hold on.      There's helicopter flying by
5    or something.        Just give me a second.
6           Okay.    Could you repeat that again?
7    A.     Sure.    So, the first one was 12/21/2020.              So,
8    I actually filed two grievances.
9    Q.     Great.    Okay.       And other than those two
10   grievances, do you recall filing other grievances
11   related to these issues?
12   A.     No, ma'am.
13   Q.     Okay.
14   A.     I did not file any other grievances related to
15   these issues.
16   Q.     Okay.    And the grievances, I will get copies
17   of those grievances.           So, you don't have to tell
18   me verbatim.
19          But just while we are sitting here, the two
20   grievances that you filed, one in December of 2020
21   and then another in February of 2021, did they
22   relate to -- do they relate to things that are
23   happening now?        Or did they -- are they related
24   to, you know, the things that we've been


                          STREHLOW & ASSOCIATES, INC.
                                (215) 504-4622
          Case 2:21-cv-01248-ER   Document 24-1   Filed 02/01/22   Page 51 of 68

                                    Roy Williams
                                  December 9, 2021

                                                                               Page 50
1    discussing from -- you know, that happened in the
2    past?
3    A.     Happened in the past.
4    Q.     Okay.    Is it say for me to assume that what
5    you put in those grievances are the things that we
6    have discussed here today?
7    A.     Yes.
8    Q.     And don't worry, like I said, I will get
9    copies of those grievances.
10   A.     Yeah.    Okay.
11   Q.     Is there anything in those grievances that we
12   haven't discussed yet that you want to tell me
13   about?
14   A.     Oh, it does actually -- sorry.           It does
15   actually name -- it 1994, it mentions Dr. Spector.
16   I got that from my attorney.            So, that would be
17   Dr. Jay Spector.
18          It mentions that that doctor diagnosed me
19   with -- I put in here, psychiatric disability.
20   So, it may have been another diagnosis.                It may
21   have been -- it may have been depression or, I
22   forgot what it was.          But I characterize it as a
23   psychiatric disability.
24          So what you have is like -- like -- like just


                          STREHLOW & ASSOCIATES, INC.
                                (215) 504-4622
          Case 2:21-cv-01248-ER   Document 24-1   Filed 02/01/22   Page 52 of 68

                                    Roy Williams
                                  December 9, 2021

                                                                               Page 51
1    as far as in the criminal side, your lawyers would
2    ask you this -- you know, file a release form so
3    they can have all your mental health records and
4    do the mitigating investigation and all that.
5           So, but they have an agreement with the
6    Department of Corrections not to give you copies
7    of the mental health records.            But they will tell
8    you what's in them over the phone or give you an
9    idea of what --
10   Q.     Hold on.     Hold on, Mr. Williams.         I don't want
11   you to accidently tell me anything about
12   discussions you've had with your lawyers.
13   A.     No, no, No.     Okay.     I'm sorry.
14   Q.     I just --
15   A.     Okay.
16   Q.     I want to protect your attorney/client
17   privilege with your lawyers.
18   A.     Okay.
19   Q.     I don't want to accidentally take you down
20   that road or for you to accidentally reveal
21   anything.
22   A.     Okay.
23   Q.     I understand, but you don't need to tell me
24   anything more.


                          STREHLOW & ASSOCIATES, INC.
                                (215) 504-4622
          Case 2:21-cv-01248-ER   Document 24-1   Filed 02/01/22    Page 53 of 68

                                    Roy Williams
                                  December 9, 2021

                                                                                Page 52
1    A.     Thank you.
2    Q.     Obviously, you're psychiatric records will be
3    obtained and, you know, they will speak for
4    themselves.        Don't worry about that.
5    A.     Okay.     I'm sorry.
6    Q.     No, no.     Don't apologize to me.         I just want
7    to make sure you don't accidentally say anything
8    that will waive your privilege.
9           Okay.     Well, sir -- is there anything,
10   Mr. Williams, that I haven't already asked you,
11   you know, that we haven't already discussed that
12   you -- you know, is a part of your complaint and
13   that you want to discuss with me?
14          You know, is there anything we haven't, like,
15   already discussed that you want to tell me?
16   A.     In the answer, there was two defenses:
17   Failure to exhaust administrative remedies and
18   statute of limitations.           But as far as the
19   administrative remedies, we -- prisoners, as far
20   as the 804 Policy, that's the grievance policy --
21   we are not allowed to -- that's not an available
22   grievance -- let me say this correctly.
23          It's not an available avenue to complain or
24   challenge your conditions of confinement.                 So


                          STREHLOW & ASSOCIATES, INC.
                                (215) 504-4622
       Case 2:21-cv-01248-ER   Document 24-1   Filed 02/01/22   Page 54 of 68

                                 Roy Williams
                               December 9, 2021

                                                                            Page 53
1    there is no -- you can't challenge -- under the
2    804, you can't challenge the Secretary's decision
3    of placing Capitals in Maximum Administrative
4    Custody.
5        And so if you are asking for accommodations,
6    you can't -- reasonable accommodations, you
7    really -- there is no avenue that -- to request
8    that based off of conditions of confinement
9    complaint.    There is no way to -- there is no way
10   to grieve it.     Even the -- they have a form called
11   Reasonable Accommodations Form, like, mental
12   health disabilities -- or, excuse me, just
13   disabilities, not mental health.          Just
14   Disabilities Accommodation Form 006.
15       And that, you can't -- prisoners can't -- it's
16   not an available means to challenge conditions of
17   confinement by being placed in a maximum
18   administrative custody and a failure to
19   accommodate.     Like you say, okay, I'm in
20   administrative custody and I want these programs.
21   That's not even an available avenue through that
22   policy that determines that.         So, the only way we
23   can challenge is through the Secretary of the
24   Department of Corrections.


                       STREHLOW & ASSOCIATES, INC.
                             (215) 504-4622
          Case 2:21-cv-01248-ER   Document 24-1   Filed 02/01/22   Page 55 of 68

                                    Roy Williams
                                  December 9, 2021

                                                                               Page 54
1           And the ACLU did make that request, and they
2    denied that request.          And there was a lawsuit,
3    Reed v. Wetzel, which brought about our relaxed
4    restrictions.        And now my complaint is geared
5    towards monetary damages for the failure to
6    accommodate for all the years prior to that.
7    Yeah.      Basically, that's pretty much it.
8           And it's a -- as far as the statute of
9    limitations is coming, alleging continual
10   violations doctrine, that it was a continual --
11   that the last act was December 3, 2019.                And then,
12   I filed within two years of that date, of that
13   last prior act.
14          Would you like some -- I'm sorry.             I'm sorry.
15   Go ahead.
16   Q.     No, sir.     I was just going to thank you.            I
17   don't have any further questions.
18   A.     Oh, okay.
19   Q.     Yes.    So, I was going to wrap up because I
20   don't have any further questions.              And just, you
21   know, again, ask you if there is -- I appreciate
22   all your answers today and all the information you
23   provided.
24          Is there anything else you want to let me


                          STREHLOW & ASSOCIATES, INC.
                                (215) 504-4622
          Case 2:21-cv-01248-ER    Document 24-1   Filed 02/01/22   Page 56 of 68

                                     Roy Williams
                                   December 9, 2021

                                                                                Page 55
1    know?      Or otherwise, I am going -- finished for
2    the day?
3    A.     So that's it?         That's all you need from me?
4    Q.     That's all I need from you, sir.             The nature
5    of these deposition is simply to really understand
6    what your allegations and your complaints are.
7           You know, this one is --
8    A.     So, how do you see it?
9    Q.     Well, I can't really answer that.              You will --
10   my assessment of the case.
11   A.     I will see that --
12   Q.     My feelings about the case will be in the
13   motion, of course.           But, you know, the deposition
14   is a discovery too just so I can really, truly
15   understand what it is your allegations are.
16          And I think that, you know --
17   A.     Okay.    I do have one other thing to say.
18   Q.     Sure.
19   A.     Basically, similar to the Palakovic -- have
20   you heard of Palakovic vs. Wetzel?
21          It was guy -- Jason[sic] Palakovic.              He
22   committed suicide at SCI Correction at around the
23   time that the Department of Justice was doing
24   their first initial investigation.               And so, his


                          STREHLOW & ASSOCIATES, INC.
                                (215) 504-4622
       Case 2:21-cv-01248-ER   Document 24-1   Filed 02/01/22   Page 57 of 68

                                 Roy Williams
                               December 9, 2021

                                                                            Page 56
1    family sued the Department.
2        And what the Court found was that they were
3    aware that Brandon had suicidal ideation.              He was
4    on the mental health roster.         And despite all
5    that, they kept him in solitary for, like, 60 days
6    here and 60 days there, something like that.               And
7    while he was in solitary, he committed suicide.
8        So, they wind up settling, you know, after
9    that.   But yeah, so basically that's what my
10   complaint.    They were aware that I was on the
11   mental health roster.       They were aware of my
12   disability.    And despite that knowledge and the
13   risk and the harm, they kept me in solitary and
14   failed to accommodate me with any type of programs
15   or anything.
16       And that's the end of that.           That's pretty
17   much it.    Oh, the DOC did acknowledge.           And based
18   off -- there were some cases like, as far as, the
19   failure to exhaust and no available administrative
20   re -- they have actually admitted that what I'm --
21   in other cased like in Johnston and in Powell vs.
22   Fisher, that the 804 Policy, a person challenging,
23   you know, administrative custody can -- you know,
24   that's not an available means.


                       STREHLOW & ASSOCIATES, INC.
                             (215) 504-4622
       Case 2:21-cv-01248-ER   Document 24-1   Filed 02/01/22   Page 58 of 68

                                 Roy Williams
                               December 9, 2021

                                                                            Page 57
1        And so, Furgess vs. Pennsylvania Department of
2    Corrections, it's a recent 2019 case where a guy
3    was put in RHU.     He was denied a shower for about
4    90 days.    And Third Circuit Court of Appeals held
5    that it didn't matter why he was in RHU.              That the
6    prisoners -- how did he say it?           A prisoner's
7    right to reasonable accommodations isn't stripped
8    because he's placed in administrative custody or
9    RHU.   And the Prison's obligation to comply with
10   ADA and the RA, they have -- excuse me, they have
11   an obligation to -- no matter -- regardless of the
12   reasons why a prisoner is housed in administrative
13   custody.
14       So basically, that's the claim.            They failed
15   to accommodate a person with a mental health
16   disability, but they accommodate people with
17   physical -- prisoners with physical disabilities,
18   like, accommodating with an accessible shower, a
19   wheelchair.    So, these other similar-situated
20   prisoners, their physical disabilities is
21   equivalent to a person -- prisoner who has a
22   mental health disability.        They fail to
23   accommodate as far as Capital, yeah.
24       So basically, that's -- basically, that's it.


                       STREHLOW & ASSOCIATES, INC.
                             (215) 504-4622
          Case 2:21-cv-01248-ER   Document 24-1   Filed 02/01/22   Page 59 of 68

                                    Roy Williams
                                  December 9, 2021

                                                                               Page 58
1    It's a failure to accommodate claim.
2    Q.     Okay.
3    A.     And that's it.
4    Q.     Okay.    Your complaint also states that you're
5    bringing it under the 8th and 14th amendments.                   Is
6    that part of your complaint?            Or really, is your
7    complaint under the Americans with Disabilities
8    Act?
9    A.     It's under both.       It's under both.        It's under
10   both.
11   Q.     That's fine.      Okay, sir.     Well, thank you.         I
12   really appreciate your time today.              If you could,
13   please, just send me a copy of the materials that
14   you have.
15   A.     The mental health records?
16   Q.     Yes.    Whatever it is that you actually have in
17   your possession, I'm not asking you to go and
18   request it from anybody else.            But if you already
19   have copies of any of -- anything that you think
20   is related to your claims, if you already have
21   copies in your possession, if you can send those
22   to me.
23          I know we discussed today the mental health
24   records and the grievance records.              If you have


                          STREHLOW & ASSOCIATES, INC.
                                (215) 504-4622
          Case 2:21-cv-01248-ER    Document 24-1   Filed 02/01/22   Page 60 of 68

                                     Roy Williams
                                   December 9, 2021

                                                                                Page 59
1    copies already in your possession, please, go
2    ahead and send that to me.            I'm not asking you
3    again to, you know, ask somebody else.
4           Okay?
5    A.     Okay.    Yes, ma'am.
6    Q.     All right, sir.         Well, again --
7    A.     I have on --
8    Q.     -- I appreciate your time.
9    A.     I have one other thing to say.
10   Q.     Yeah.
11   A.     I seen -- this in nothing dealing with the
12   case.      This is just on a personal thing.
13          I was watching TV the other day.             And I saw a
14   lot of Asian-American community, like, at a rally
15   protesting Asian hate.            And I just want to say
16   that I'm sorry that the Asian community is going
17   through that now.            When I was coming up, we didn't
18   feel that way.        My generation didn't feel that way
19   about Asians.        We looked up to them, like, all the
20   martial arts and movie stars.
21          So, I just want to say I'm sorry for what they
22   are going through.           And things will get better.
23   And keep your head up.
24   Q.     Thank you, sir.         That's very kind of you.


                          STREHLOW & ASSOCIATES, INC.
                                (215) 504-4622
          Case 2:21-cv-01248-ER   Document 24-1   Filed 02/01/22   Page 61 of 68

                                    Roy Williams
                                  December 9, 2021

                                                                               Page 60
1    Thank you.
2    A.     Okay.
3    Q.     Same to you.
4    A.     Okay.
5    Q.     Thank you.     Thank you again for your time
6    today.
7    A.     You're welcome.
8    Q.     Okay.
9    A.     Thank you.
10   Q.     Okay, sir.     Bye, bye.     Thank you.
11   A.     You have a nice day.
12   Q.     You, too.
13                        (At this time, the deposition
14              concluded at 1:04 p.m.)
15
16
17
18
19
20
21
22
23
24


                          STREHLOW & ASSOCIATES, INC.
                                (215) 504-4622
  Case 2:21-cv-01248-ER   Document 24-1   Filed 02/01/22   Page 62 of 68

                            Roy Williams
                          December 9, 2021



              C E R T I F I C A T I O N


            I, hereby certify that the proceedings
and evidence noted are contained fully and
accurately in the stenographic notes taken by me
in the foregoing matter, and that this is a
correct transcript of the same.




                          --------------------------
                          ANGELA M. KING, RPR,
                          Court Reporter, Notary Public

                          (The foregoing certification
                          of this transcript does not
                          apply to any reproduction of
                          the same by any means, unless
                          under the direct control
                          and/or supervision of the
                          certifying reporter.)




                  STREHLOW & ASSOCIATES, INC.
                        (215) 504-4622
                Case 2:21-cv-01248-ER            Document 24-1            Filed 02/01/22          Page 63 of 68

                                                   Roy Williams
                                                 December 9, 2021
                                                                                                                     Page 1

      A            29:22         Americans         28:6 30:11      barber's 8:24     40:2,6          35:7 38:8       15:20
a.m 1:14         ADA 57:10         58:7            36:3,6,8          42:4 43:17    brought           40:23,24        20:18
ability 16:8     additional      and/or 61:18      46:15 53:5      based 28:10       45:10 54:3   cells 34:8       clothes 25:1
able 34:2,15       9:13 17:9     Angela 1:14       58:17 59:2        28:21         Building 2:6   center 14:9      Collegeville
  43:15          administra...     4:3 61:11     assessment          37:14         bye 60:10,10      14:13 16:2      1:9
  45:13            9:5           anger 40:24       55:10             39:16                           18:2,6,7      come 28:11
absolutely       administra...     42:1          assigned 33:7       44:18,19,23          C          19:13 21:3      34:6
  44:3             9:24 43:1     answer 5:8      assistance          45:11,24      C 2:2 32:11       21:8          coming 54:9
access 41:18       45:9,9          5:13,23 6:1     27:16             53:8 56:17      32:13        certification      59:17
  42:8 43:24       52:17,19        6:9,17          35:20,24        basically         36:17 37:2      61:13         commencing
  44:13 45:3       53:3,18,20      44:10         ASSOCIA...          25:14,20        37:4,7,17    certified 33:4     1:14
  45:13            56:19,23        52:16 55:9      1:19              26:24           61:1,1          33:6,8,9,11   commit 25:7
  47:24            57:8,12       answering       assume 6:10         41:10 54:7    cable 38:8,9   certify 61:3       25:18
accessible       admitted          6:16            30:19 50:4        55:19 56:9      38:10        certifying       commitment
  57:18            14:8,12       answers         attach 14:7         57:14,24,24   cages 38:14       61:19           21:2
accidentally       16:1 18:2       54:22         attempt           basketball        38:14        chair 39:12      committed
  51:19,20         19:13         anybody 34:2      24:23 26:1        38:17,20      call 9:24         40:3,6,7,7      55:22 56:7
  52:7             23:11           58:18           37:23           basketballs       17:11        challenge        community
accidently         56:20         apologize         45:22 46:1        38:17           25:13           47:2 52:24      59:14,16
  51:11          adolescents       52:6          attended          beat 38:22      called 16:12      53:1,2,16     complain
accommod...        16:14         Appeals 57:4      19:24           believe 10:9      17:4 41:1,4     53:23           52:23
  40:22          AGENCY          application     attending           13:5 15:18      53:10        challenging      complaining
  41:11            1:19            47:2            18:19 19:1        15:19         capital 7:7       46:17,23        12:19,22
  42:12          ago 18:23       applied 8:23      19:7 20:5         16:12           9:5,12,20       56:22           13:11
  45:16            24:17           42:3 46:21    attorney 2:5        19:23 22:5      9:21 11:21 change 7:12          40:11,14
  53:19 54:6       29:15         apply 46:18       50:16             23:13           11:24 12:2      7:13 9:19     complaint
  56:14          agreement         61:15         attorney/cli...     27:13,15        12:15,17,20 changed 45:2        7:4 12:13
  57:15,16,23      44:24 51:5    appointment       51:16             30:12,15,24     13:6 40:13 characterize         14:1,6 15:3
  58:1           ahead 22:11       34:24 35:3    available           34:6 35:2       41:9,13         50:22           21:17
accommod...        22:19 24:4      35:4,24         40:23 46:7        39:22 46:7      43:6,13      check 22:9         40:15
  57:18            24:5,5        appreciate        52:21,23        bell 19:16        45:8 57:23      29:15           42:10,11,18
Accommod...        26:14           54:21           53:16,21        best 5:9,12     Capitals 45:4     33:14           43:5 44:1,9
  53:14            41:24 48:9      58:12 59:8      56:19,24          5:17 16:7       53:3         check-ins          45:15,19
accommod...        48:12         approxima...    avenue 52:23        21:19         case 4:22 7:2     35:15           47:1 52:12
  53:5,6,11        54:15 59:2      16:20 29:3      53:7,21           24:17           7:7 9:5,12   checked            53:9 54:4
  57:7           allegations     April 18:3      aware 36:16         30:20           9:20,21         32:13           56:10 58:4
accurate 7:21      55:6,15         21:15           37:1,6 56:3       31:24           11:21,24     checkups           58:6,7
  9:8 13:9       alleging 54:9   Arab 30:16        56:10,11        better 59:22      12:2,15,17      28:9          complaints
  21:5 34:11     allow 6:14,16   Arch 2:6                          bit 47:18         12:20 13:7 Circle 17:8          12:16 55:6
  41:15            9:5 42:24     arrival 10:3          B           block 13:8,9      28:17,20     Circuit 57:4     completely
accurately         43:1 46:9     art 41:5        B 3:11 8:17         34:6,10         29:1 40:13 claim 41:11          6:14,17,17
  61:5             46:11         arts 59:20        32:11,14        book 32:7         41:13 43:6      57:14 58:1    comply 57:9
acknowledge      allowed 8:20    as-applied        37:7,10,18      Boulevard         43:13 45:8 claims 58:20       concluded
  56:17            28:18 41:8      47:1          back 9:18           17:5,7          55:10,12     clarifies          20:14
ACLU 44:15         52:21         Asian 59:15       10:2,20         Brandon           57:2 59:12      13:18           60:14
  45:6 54:1      allowing          59:16           21:6,6,7,10       56:3          cased 56:21    clarify 6:8      conditions
acronym            34:14         Asian-Ame...      22:22           breakfast       cases 56:18       9:17 10:11      40:18
  41:2           alteration        59:14           26:12 27:4        39:10         cell 8:4,18,21    12:12           52:24 53:8
act 54:11,13       9:19          Asians 59:19      37:5,20         briefly 10:15     8:21 24:24      15:23           53:16
  58:8           altered 9:4     asked 26:14     bad 24:21         bring 28:18       25:1,9,10       40:18         confinement
activities       amendments        26:15           29:5,6            43:3 48:21      25:13,15,15     45:17           7:7,8 42:24
  8:18,19          58:5            34:19         Bangel 46:15      bringing          26:2,5,13       46:24 47:9      44:21 46:9
actual 20:10     American          52:10         barber 8:23         28:19 58:5      26:22 27:5 classes 33:13        46:17,19
                   31:2          asking 15:14      42:4            broke 39:12       27:6,10      clinical 15:4      47:3 52:24


                                       STREHLOW & ASSOCIATES, INC.
                                             (215) 504-4622
                 Case 2:21-cv-01248-ER          Document 24-1           Filed 02/01/22          Page 64 of 68

                                                  Roy Williams
                                                December 9, 2021
                                                                                                                     Page 2

  53:8,17         CPS 32:8,9    decision 53:2     14:3 36:19       54:10        evaluation       fair 6:11,22       13:22
conjunction         33:2 37:9   defendant         50:18          documents        15:20          faking 25:9        40:19
  31:8              39:24         2:8 4:22      diagnosis          14:7         everybody           25:11         following
consider 7:8      criminal 15:9 defenses          14:18,22       doing 28:12      27:2           family 18:13       30:22
considered          51:1          52:16           15:4 20:10       28:13,14     evidence 61:4       19:3,4,5,15   follows 4:9
  8:3             current 7:19  definition        22:7,15          33:15        exactly 7:6,9       56:1          foregoing
contact 25:21       9:10,11       42:23 46:9      31:15            35:15 44:4     7:16 9:16      far 9:1 25:23      61:6,13
contained           12:20,22    Delays 47:15      36:15            55:23          47:16             32:17 42:1    forgot 25:2
  61:4              13:19       denied 54:2       50:20          downgraded     examination         43:16 51:1      32:3 41:3
contention          15:19         57:3          direct 61:17       32:14          3:6 4:17          52:18,19        50:22
  14:2            currently     department      disabilities       37:10          15:4              54:8 56:18    form 51:2
continual           7:22          8:19 9:4        44:22,23       Dr 30:12,15    examinations        57:23           53:10,11,14
  54:9,10         custody 10:1    12:24           53:12,13,14      30:17,19       15:6,8,13      February         former 10:13
continue 45:8       23:12 43:1    24:20           57:17,20         31:8,14,18     16:3,4,9,10       11:6 49:2     forth 22:22
control 61:17       45:10 53:4    25:21           58:7             50:15,17       20:18,19          49:21         found 56:2
conversation        53:18,20      28:22,23      disability       DSM-5 32:7       21:4           feel 41:17       four 30:13,21
  37:8,15           56:23 57:8    41:6 44:16      46:20            32:8         examined 4:9        42:16         frame 16:22
conversatio...      57:13         44:19,20,24     50:19,23       duly 4:8       example 5:24        59:18,18        17:2 20:4
  15:16,22        cut 16:18       46:2 51:6       56:12                         exams 15:24      feeling 25:23    frequently
convicted           47:7          53:24           57:16,22              E       excuse 23:11        34:9,20,21      24:12
  11:4                            55:23 56:1    discovery        E 2:2,2 3:1,11   23:17             35:16,17,22   Friends 1:20
copies 48:4,7           D         57:1            55:14            61:1           53:12             46:4            16:12,12
  49:16 50:9      D 3:1         department's    discuss 52:13    earlier 12:3     57:10          feelings           17:4,5,10
  51:6 58:19      damages 54:5    36:20 45:7    discussed          37:22 42:3 exhaust               55:12           18:4,16,20
  58:21 59:1      date 12:4,6   depending         12:3 23:9        43:8           52:17          file 47:21,23      19:11,24
copy 58:13          54:12         35:5,8          40:10 50:6     east 8:15        56:19             49:14 51:2      20:11,14
corner 38:19      dated 20:16   deposed 4:24      50:12          Eastern 1:2    exhaustion       filed 4:23 7:2     21:1 23:9
correct 23:14     day 23:22     deposition        52:11,15         7:2            28:21 29:2        48:5,23       front 5:16
  61:7              33:23 55:2    1:12 4:4        58:23          educational      29:11,21          49:8,20       full 1:19 4:12
Correction          59:13         5:7 6:13      discussing         43:20          30:6,22           54:12           32:10,24
  55:22             60:11         7:1 55:5,13     50:1           either 10:10   exhibits 3:13    filing 7:11      fully 10:18
Corrections       daylight 32:3   60:13         discussions        25:2         experienced         49:10           61:4
  9:4 12:24         33:24       depositions       51:12          Email 2:8        12:9           fine 5:14        Furgess 57:1
  44:16 45:1      days 14:14,16   47:16         District 1:1,2   encompass      explain 7:5         17:20         further 54:17
  51:6 53:24        14:19       depression        7:3              43:5         expressed           19:23           54:20
  57:2              21:10 22:5    14:23         dizzy 29:8,9     encompassi...    35:21             22:16
correctly           38:11 56:5    25:23         DOC 23:12          43:10                            47:12               G
  52:22             56:6 57:4     50:21           34:13          enrolled 32:9         F            58:11         geared 42:22
counsel 15:14     DC 25:17      describe          36:13          enrollment     F 61:1           finish 6:14,15     44:1 45:15
  15:19,22          26:9,20,21    12:14 40:9      42:17            32:10        face 46:18          6:17,18         45:19 54:4
counselor           27:8 37:23    40:17           56:17          enter 12:23    facility 18:4    finished 55:1    GED 43:21
  39:19             38:1,24     described       doctor 18:12     entered        fact 15:5        first 19:22      general 2:5
county 10:22      DE 1:21         37:22           25:6 26:13       13:12          17:19             21:12,12,24     9:6 32:18
  10:23           dealing 59:11 DESCRIP...        30:23 31:1       23:12,17     fail 57:22          23:13,17,22   generation
course 6:13       dealt 25:22     3:12            31:5,15,19     entire 11:16   failed 42:17        24:1 25:6       59:18
  19:24             46:3        designed 44:6     37:8,15          13:4,7         56:14             29:22         give 5:3
  46:14           December      despite 56:4      50:18          entitled         57:14             45:21,21        35:23
  55:13             1:9 9:3       56:12         doctor's           42:21        failure 40:21       49:1,3,7        43:15
court 1:1,15        10:23 12:5 details 8:12       16:14          environment      41:11             55:24           48:13,14
  1:19 3:14         12:17 13:1 detention        doctors 31:11      15:2           42:11          Fisher 56:22       49:5 51:6,8
  4:3 6:20          13:13 49:3    18:6,7          36:20,20       episode 14:7     45:16          flying 49:4      given 36:15
  7:3 15:17         49:20       determines      doctors'         equivalent       52:17          focus 13:16      go 5:4,5 12:4
  15:19 56:2        54:11         53:22           19:12            57:21          53:18 54:5        42:15           18:9 22:11
  57:4 61:11      decide 43:4   diagnosed       doctrine         Esquire 2:5      56:19 58:1     focused            22:19


                                      STREHLOW & ASSOCIATES, INC.
                                            (215) 504-4622
                Case 2:21-cv-01248-ER          Document 24-1         Filed 02/01/22        Page 65 of 68

                                                 Roy Williams
                                               December 9, 2021
                                                                                                               Page 3

  23:22 24:4       39:19,23      28:8,14,22     9:23 27:9       26:19      kind 31:15               L        longer 27:16
  24:5,5           40:4          28:23 29:1     45:8         interviews      35:17          L 11:22          look 22:14
  26:14,23       grievance       29:23 30:7                     28:16        36:15,21       lag 47:19        looked 59:19
  27:2 34:2        47:21,23      31:16,20              I     introduce       59:24          laid 29:9        looking 7:9
  41:24 48:9       52:20,22      32:2,7,11     idea 37:12       4:20       King 1:14 4:3    LANE 1:20          7:12,13,14
  48:12            58:24         33:23 34:5      51:9        investigation   61:11          lasted 27:12     lot 23:22,24
  54:15          grievances      34:14,16      ideation         51:4 55:24 kle@attorn...    lawsuit 7:6        33:13 41:4
  58:17 59:1       48:4,23       35:20 36:1      14:24 56:3  involuntary     2:8               7:10,17         59:14
goes 6:4           49:8,10,10    36:14,23      ideations        21:13      know 5:13,15        54:2
going 5:4          49:14,16,17   39:23 41:8      14:10       isolate 24:14   6:21 10:3      lawyer 17:16           M
  8:22 18:16       49:20 50:5    42:20,23      ignore 36:7   isolated        10:17          lawyers          M 1:14 61:11
  22:13 24:6       50:9,11       43:9,15       ignored 36:9     26:24 27:1   12:18 15:1        17:16 51:1    ma'am 10:6
  33:17 35:8     grieve 53:10    44:22 46:2    in-cell 43:21 isolation 25:1  15:21             51:12,17       11:17
  39:4,24        ground 5:3      46:20,20      inability     issue 14:18     16:15,21       lay 29:8          13:14
  40:16          group 40:24     47:5 51:3,7     47:24          45:22        18:12,14,22    Le 2:5 3:7        15:10,12
  41:20 42:5       43:7          53:12,13      incidence     issued 12:6     18:24 19:2        4:19,21        18:18 19:6
  45:8,13        guard 39:8      56:4,11         28:10       issues 14:4     19:2,12        leading 40:17     22:2 26:3
  46:24          guards 35:21    57:15,22      incident         43:24        20:15,19       Lee 1:4,12        27:11
  47:10          guess 8:2       58:15,23        27:16,20       49:11,15     22:24 24:1        3:4 4:8,13     31:10,22
  54:16,19         9:13 16:16 heard 55:20        29:21 30:2                  24:9,14        left 11:20        34:12
  55:1 59:16       28:14       heat 28:20        30:5,22            J        25:23          legal 15:13       35:13
  59:22            33:14 35:3    29:1,11,21      37:21       J 13:8,9        26:11 28:5     lengthy 13:17     37:19
good 4:2           46:5          30:6,22         39:16,21    jail 10:23      28:9,10,12     let's 6:24        41:16 47:4
  18:21,21       guy 32:5      held 1:13         40:2        January 8:20    28:15 30:9     letter 44:17      47:6 49:12
  35:17            55:21 57:2    57:4          included        8:21 41:21    30:16 32:4     Level 8:3         59:5
  40:21                        helicopter        21:16         42:5          32:15 33:5     liberties 9:13   mail 22:21,21
Graterford             H         49:4          India 31:2    Jason[sic       33:13,14,17    license 8:24     making 25:18
  10:10,13,16    H 3:11        help 33:17      Indian 31:1,2   55:21         34:7,20,21        42:5 43:17     26:21
  10:20,22       happened        36:4 44:6       31:19       Jay 50:17       34:22 35:8     lifted 12:19     management
  11:8 13:2,5      30:11 36:2    44:10         individual    Jennifer        35:16,21,22       13:13          42:1
  13:12            50:1,3      helped 32:6       19:2          46:15         35:23 37:5     lifting 13:23    manager
  23:13,16,17    happening     helpful 15:2    inevitably    job 19:9        37:7 38:12     likewise 6:16     41:1
  24:9,14          17:24         23:4            47:18         43:16         39:2,6,20      limitations      marked 3:13
  27:4,20          49:23       hired 15:19     information   jobs 8:22       39:24 40:5        52:18 54:9    martial 59:20
  36:3 37:21     Happy 48:16 hit 39:14 40:6      17:12,17,21 jogs 19:19      40:8,10        limited 12:16    materials
  39:2,3         hard 36:21    Hold 49:4         54:22       JOHN 1:6        42:2,17        list 16:7         58:13
great 15:21        39:6          51:10,10      initial 12:23 Johnston        43:4,10,11     listen 33:16     matter 15:5
  17:14,14       harm 56:13    hooked 38:9       23:20         56:21         43:20,21,22    litigation        17:19 57:5
  22:19 23:4     Harris 39:17 hoop 38:18         55:24       July 10:9       43:24             40:20          57:11 61:6
  34:21 44:4       40:2,6        38:20         initially       11:12,15,23   44:15,16,19    little 5:5       maximum
  47:17 48:7     hate 59:15    hopefully 5:5     11:13       Justice 44:20   45:2,22           38:20 39:3     9:24 42:24
  49:9           head 6:2,5    hospital 18:5     23:18         55:23         46:3 47:14        39:5,5,6,12    45:9 53:3
greater 9:21       34:8 59:23    18:8          inmate 46:19 juvenile         47:20,22          47:18          53:17
Greene 10:5      headache      hours 25:3,3    inmates 7:7     16:11 18:5    49:24 50:1     living 10:5      mean 8:5
  10:7,13,21       29:6          32:3 33:24    Institute       18:7          51:2 52:3      locations 4:6     16:17
  11:2,8,11      health 14:3     34:3            17:10                       52:11,12,14    locked 43:2       18:15
  11:14,15,19      14:18,22    housed 7:22     institution          K        54:21 55:1                       36:17
                                                                                            long 10:20
  11:23 12:2       18:5 20:20    8:10,14         23:13       Kathy 2:5       55:7,13,16        14:12          45:18,20
  12:9 13:3        23:1,18,23    9:12,20         33:22         4:21          56:8,23,23        18:23 20:3     47:7,16
  27:24 28:2       24:7,10,13    10:4 11:15    intellectual  keep 59:23      58:23 59:3        22:3 24:17    means 53:16
  31:21 36:2       24:20 25:5    11:21,24        44:22       kept 56:5,13  knowledge           25:2,3         56:24
  36:4 37:9        25:6,21       57:12         interactions  Khan 30:12      5:10 36:14        26:18 28:5     61:16
  37:16,24         26:8 27:17 housing 7:12       28:7 31:20    30:15,17,19   56:12             28:6          medication
  39:3,16,18       27:21 28:3    7:19,24 8:9   interview       31:8,14,18                                     26:17


                                     STREHLOW & ASSOCIATES, INC.
                                           (215) 504-4622
                Case 2:21-cv-01248-ER           Document 24-1        Filed 02/01/22        Page 66 of 68

                                                  Roy Williams
                                                December 9, 2021
                                                                                                              Page 4

memories          54:5          noted 61:4     20:9,23       outside 23:7    7:22 8:1         56:16           43:20
 19:19           months 21:21   notes 61:5     21:9,19         27:20         10:4,8         prevention        44:13 46:6
memory 5:9        21:23,24      notice 1:13    22:3,19       Oxford 17:8     11:11            45:23           46:10,12
 5:17 16:8        25:18         number 3:12    23:6,11,16                  phone 2:7        previously        48:1 53:20
 19:9 21:19       27:12 29:7      49:2         24:8,12             P         25:13 51:8       10:4,5          56:14
 24:18 38:1      morning 4:2    numbers        25:16         P 2:2,2 8:14  physical         prior 9:19      property
mental 14:3,3     5:5             48:11,12,13  26:11           8:16,17       57:17,17,20      10:3 13:2       26:22 27:6
 14:18,22        motion 55:13     48:15        27:12,19      p.m 60:14     piece 40:7         13:22         protect 51:16
 18:5,8          movements      NY 1:21        29:17,19,20   PA 1:21       place 21:15        20:15 34:5    protesting
 20:20 23:1       9:14,15                      30:1,18       PAGE 3:3,12 placed 26:2,9        34:13           59:15
 23:18,23        movie 59:20         O         31:4,23       Palakovic       26:20            40:12 54:6    provide
 24:7,10,13      music 41:5    O 61:1          32:21           55:19,20,21   37:23 38:1       54:13           42:17
 24:20 25:4      Muslim        obligation      33:21         part 14:1       43:13          prison 40:13    provided
 25:6,21          30:16 39:9     57:9,11       35:14,18        42:18         53:17 57:8     Prison's 57:9     54:23
 26:8 27:17                    observation     36:5 37:1,5     52:12 58:6 placement         prisoner        Prozac 26:16
 27:21 28:2            N         26:5          37:14,20      parties 4:5     15:1             57:12,21      psychiatric
 28:8,14,22      N 2:2 3:1     obtained        38:16         Paul 8:17     placing 53:3     prisoner's        14:9,13
 28:23 29:1        61:1          52:3          40:16,21      PB 8:17       please 4:12        57:6            16:2,4,8
 29:23 30:7      name 4:3,12   obviously 7:4   41:12,22      PCRA 15:10      5:20,22        prisoners         18:2 19:13
 31:16,20          4:21 16:15    13:17         42:10           15:11         6:14 7:5         33:15           21:3,8 23:7
 32:2,7,11         17:9 30:12    15:21 52:2    43:19 44:2    peer 33:4,7,8   22:23            43:23           26:4 50:19
 33:23 34:5        30:14,17,19 occasion        44:5,8,11       33:10,11      58:13 59:1       44:21           50:23 52:2
 34:14,16          31:1 32:3     14:13,16      46:22         Pennsylvania POC 24:24           52:19         psychiatrist
 35:20 36:1        32:19 41:3    22:4 24:19    47:13 48:7      1:2,9,20      25:15 26:2       53:15 57:6      20:20
 36:14,23          50:15       off-the-unit    48:17,20,24     2:7 7:3       26:4             57:17,20      psychologist
 39:23 41:7      Native 31:2     43:16         48:24 49:6      57:1        pod 8:17         privilege         20:20
 42:20,23        nature 12:15 office 2:5       49:9,13,16    people 6:21   point 12:1         51:17 52:8    psychother...
 43:8,15           47:14 55:4    34:1,3,10     50:4,10         23:22 24:1    37:11,17       probably          40:24
 44:21 46:2      need 6:8        34:14 35:7    51:13,15,18     35:15       poke 34:8          16:22,23      Public 1:15
 46:20,20          22:17       Officer 39:17   51:22 52:5      57:16       policies 45:2      17:16,23        61:11
 47:5 51:3,7       51:23 55:3    40:2,6        52:9 53:19    perform 9:6   policy 12:4,5      40:8          punitive
 53:11,13          55:4        Oh 26:15        54:18         performed       12:6 45:9      problem           45:24
 56:4,11         needed 6:6      29:20         55:17 58:2      15:6          52:20,20         39:20         purposes
 57:15,22        never 25:20     36:10 38:2    58:4,11       period 13:4     53:22            48:20,22        30:20
 58:15,23          35:10 36:2    39:2 48:12    59:4,5 60:2     13:10,17,18   56:22          proceedings     pursuant
mention            36:2 45:24    50:14         60:4,8,10       22:7 24:15 pop 47:13           15:9,10,11      1:13
 19:14           NEWTOWN         54:18       once 18:23        28:6 37:2,4 population         61:3          put 24:24
mentioned          1:20          56:17       one-on-one        41:13         9:7            professional      25:8,17
 19:2 32:23      nice 32:5,17  okay 5:3,11     29:23         person 46:19 possession          36:14           35:7 50:5
 42:3,13           60:11         5:18,19 6:3   34:15,22,23     56:22         22:17          professionals     50:19 57:3
mentions         NJ 1:21         6:24 7:18     35:11           57:15,21      58:17,21         16:5 20:21
 50:15,18        nodding 6:1     7:19,24     ones 43:9       person's        59:1           program               Q
minor 28:20      non-Capital     8:11,14,14  open 12:2         32:19       possessions        32:8,9        qualified
 40:5              43:23         9:2,10,17   opening 42:6    personal        27:10            40:23 42:4      33:6,9
misconduct       non-Capitals    10:11,15,24 operated          59:12       possible 19:9      42:8 43:14    question 5:20
 28:19             45:1          11:3,7,18     9:22          personally    Powell 56:21       43:21 45:3      5:24 6:7,8
 38:21,23        non-health      13:2,15     ORAL 1:12         45:6        PPC 21:8,20        45:14           6:10,15,18
 39:14             43:23         14:1,6,15   ordered         Peter 8:16      22:4 23:8      programs          8:6 10:11
mitigating       noose 25:8,19   15:21,24      15:13,16,18   Philadelphia praying 39:8        40:22 41:4      18:21,22
 51:4              26:21         16:7,19     out-of-cell       2:7 14:9,12   39:9             41:20 42:2      36:12
mom 17:12        Northeast       17:4,14,18    28:16 42:7      16:2,13     present 1:16       42:12,13,14     40:16
 18:11 19:7        16:13         17:19,21,22   42:12           18:2 19:13 pretty 9:1          42:16,20,21     46:16
monetary         Notary 1:15     18:19 19:1 outpatient         21:2,8        26:17            42:23 43:2    questions 5:8
 7:14,18           61:11         19:7,18,21    18:9          Phoenix 2:6     32:15 54:7       43:7,9,18       5:9,23 44:6


                                      STREHLOW & ASSOCIATES, INC.
                                            (215) 504-4622
                 Case 2:21-cv-01248-ER             Document 24-1            Filed 02/01/22          Page 67 of 68

                                                     Roy Williams
                                                   December 9, 2021
                                                                                                                         Page 5

  54:17,20        reference          38:3,5          12:15          RPR 1:15        36:18            similarly          27:21
quick 26:18         15:3             44:12         result 15:7        61:11         38:13,15            43:22           32:16
  39:21           referred           46:15         resulted         rules 5:3       59:11            simply 55:5        33:16 52:3
quite 18:24         28:22 30:7       47:10 48:3      19:11                        send 22:20,23      sir 23:5 52:9    speaking
  23:21           reforms            48:22         return 21:20            S        23:2 58:13          54:16 55:4      28:2
                    44:18 45:1     remind 6:6      returned         S 2:2 3:11      58:21 59:2          58:11 59:6    specialist
       R          regard 12:14     remote 4:5        27:8           sake 5:21     sent 28:21            59:24           33:4,7,8,10
R 2:2 61:1        regardless         47:14         reveal 51:20       6:19          30:6                60:10           33:12
RA 57:10            57:11          removed 27:9    reviewed 7:4     saw 30:20     sentence 41:9      sit 34:23        specific 44:12
radio 26:23       regards          repeat 30:14    RHU 57:3,5         59:13       sentenced          sitting 29:7     specifically
rally 59:14         31:15            49:6            57:9           saying 6:2,17   10:18 11:5          33:23           44:9
real 29:8 38:9      41:12 47:2     rephrase        right 6:24 8:2     10:12       separate 27:3         49:19         Spector
really 25:5,20    regular 27:9       15:7 36:12      10:5 13:15       29:19       separately         situated           50:15,17
  26:18 29:5      relate 31:23     Report 44:20      13:21 17:6       41:10         31:12,13            43:23         spoke 26:7
  29:6 32:5         35:16          reporter 1:15     17:13,23         42:19 46:5 separation          situation        sporadic
  32:17 46:1        49:22,22         3:14 4:4        20:13 23:3       46:6,24       39:22               9:11 13:19      28:10
  53:7 55:5,9     related 34:20      6:20 61:11      23:6 26:10     schedule      September             13:22         staff 23:24
  55:14 58:6        43:8 47:24       61:19           33:6,16          34:23 35:2    15:5             six 21:22,24       24:7,10,13
  58:12             49:11,14,23    REPORTI...        44:2 48:17       35:4        series 5:7            25:17           24:20 25:5
reasonable          58:20            1:19            57:7 59:6      SCI 7:22,24   seriousness           27:12 29:6      26:7,8
  53:6,11         relates 7:1,6    represent       Rights 44:23       10:3,5,7,7    35:6             sleep 29:7         27:17,21
  57:7              14:1 42:11       7:21          ring 19:16         10:13,15,20 SERVICE            slight 47:19       28:3,8,11
reasons           relating 14:7    representing    risk 56:13         10:22 11:2    1:19             slot 39:11         28:14 29:1
  57:12             22:24            2:8 4:22      road 51:20         11:8,8,10   services 41:7      slow 22:22         29:23 30:7
recall 19:14      relaxed 30:3     reproduction    Roebuck            11:11,14,15   41:8,18          slung 39:13        31:20 32:2
  21:3 22:6         32:1 33:19       61:15           17:6             11:19 12:1    42:9,16          small 38:14        33:23 34:5
  23:6 31:14        33:22          request 22:17   Roosevelt          13:2,3,4,12   43:14            smoothly 5:6       34:14,16
  49:10             40:13            46:8 53:7       17:5,7           23:13,16,17   45:14 46:7       sole 42:15         39:6,23
receive 14:17       41:14            54:1,2        roster 32:11       24:8,14     SERVING            solitary 7:8     stand 26:4
received 20:9       45:12 54:3       58:18           32:12,14         27:19,24      1:21                42:24         stars 59:20
  22:6 23:7       relaxing         requested         36:17 37:2       28:2 36:11 session 29:23          44:21 46:8    start 6:15
recollection        12:10            24:19           37:4,10,12       37:21,24      30:8 34:16          46:17,18        30:9
  30:21             34:13            34:17           37:17,18         55:22         35:11               47:3 56:5,7   started 6:24
  31:24           release 51:2       35:11,19        56:4,11        Sears 17:6,6  sessions              56:13           11:19
recommen...       relief 7:15,18     44:14,15      rough 39:5,6     second 22:4,7   19:11 20:5       somebody           41:19
  19:12           relies 46:8        45:5,6        roughly 11:7       31:5 49:5     20:14               23:18 59:3    starting
record 4:12       remedies         response 45:7     11:14,19       Secretary       30:10            sorry 10:11        41:21
  4:21 5:21         52:17,19         45:24           12:7 13:5        4:23 44:17 Settlement             16:17         state 4:11
  6:19 22:20      remedy 7:9       rest 27:19        13:12            53:23         44:24               17:15 19:6    states 1:1
  40:1,1          remember         restric 30:4      17:24          Secretary's   settling 56:8         22:11 24:4      58:4
records             5:11,12,12     restricted        18:15 20:4       53:2        severe 14:3           24:5 26:14    status 7:13
  19:14             5:14 10:2        9:22            27:12          see 19:18       14:23               29:18 30:5      7:14,19,24
  21:16             11:4 16:14     restrictions      48:22            22:15       Shadowbox...          41:23           8:13 23:1
  22:14,14,16       16:17,20         9:21 12:3     round 34:7         23:18         38:7                46:23           25:17 26:9
  22:24             18:22            12:10,18,20   rounds 28:15       24:20 27:7 shake 6:4              47:11 48:9      26:20,21
  29:15             19:17,18         12:23           32:5 33:14       30:13,24    sheet 25:8            48:21 49:4      27:8 37:6
  36:19,21,24       20:4,7,9,18      13:13,23        34:19            31:6 35:8   shop 8:24             50:14           37:13,14,23
  51:3,7 52:2       23:20,21,24      30:3 32:1     routine 28:9       36:19,23    shortly 24:22         51:13 52:5      38:1 41:9
  58:15,24,24       25:5 27:22       33:19,21        30:10            39:1 55:8   shower 57:3           54:14,14        47:5
recover 29:4        28:2,7,24        34:13 43:6    routinely          55:11         57:18               59:16,21      statute 52:18
  29:12             29:3 31:1        43:11           18:16 24:9     seeing 31:9   side 8:15 51:1     sought 27:16       54:8
Reed 45:10          31:19            45:12 54:4      24:11,11         31:11,12    similar 55:19      sounds 43:7      stay 22:3
  45:11 54:3        32:19,22       restrictive     Roy 1:4,12       seeking 7:17  similar-situ...    speak 24:10      stayed 11:1
refer 14:6          35:19 36:8       9:14,15         3:4 4:8,13     seen 25:4       57:19               24:13           27:5


                                         STREHLOW & ASSOCIATES, INC.
                                               (215) 504-4622
                Case 2:21-cv-01248-ER             Document 24-1           Filed 02/01/22           Page 68 of 68

                                                    Roy Williams
                                                  December 9, 2021
                                                                                                                    Page 6

STENOGR...       talk 18:11         29:4 39:15      37:3          types 43:9       visit 21:12   wellness 41:2     44:16
  4:2,11,14        23:22 24:6       44:17         tool 47:17                         22:1,8 34:2   41:3
stenographic       32:4,6           55:16         top 27:1              U          visits 23:8   went 10:12            X
  61:5             34:22            58:19         transcript      uh-huh 6:2         31:18         10:22         X 3:1,11
straight 29:7    talked 23:24    Third 57:4         5:22 61:7     uh-uh 6:5        vocational      16:16
Street 2:6         32:3          thoughts           61:14         Um 22:10           43:17         18:24 21:6          Y
STREHLO...       talking 6:15       24:21         transfer 10:7   understand       voluntarily     21:6,7,10     yard 26:24
  1:19             6:21 13:19    three 21:22        11:10 13:3      5:15 6:8         22:3          29:9            28:19,20
string 38:19       25:5 28:24       21:24         transferred       7:6,16 8:7     voluntary     weren't           38:7,12
stripped 57:7      39:22            30:13,21        10:21 11:1      44:7 51:23       21:11         28:18 41:8    yards 38:13
structured         40:21         threw 39:11        11:8,14         55:5,15        vs 1:5 55:20  Wetzel 1:6      yeah 18:13
  15:1           tell 5:4,11     Thursday 1:9       27:23         understand...      56:21 57:1    4:23 44:17      21:23,23
stuff 40:5         37:16 38:4    tie 38:19          39:16,18        9:2,7 10:16                    45:11,11        26:17
submit 47:21       49:17         time 3:13 8:4    trash 39:11       12:13               W          54:3 55:20      32:15 35:9
sued 56:1          50:12 51:7       8:21,21       tray 39:10,11     14:17,21       waive 52:8    wheelchair        36:22 39:5
suicidal 14:9      51:11,23         11:13,16,18   treatment       understood       walk 28:13      57:19           39:20
  14:24            52:15            11:19,20        16:16           6:10 31:3       34:7         Williams 1:4      42:22 43:3
  35:22 56:3     telling 25:14      12:17 13:7      20:19 23:7    unit 8:9,14      walking         1:12 4:8,13     43:14 44:3
suicide 24:22    terms 8:2,4        13:10,11,17     40:11,15        8:23 9:7,10     35:14          4:20 7:1,20     44:3 45:4
  25:7,18          40:19            13:18 16:1    treatments        9:12,20,21     want 4:24       9:3 12:12       46:5,5,10
  26:1 36:3      test 5:17          16:11,22        16:9            9:23 11:21      7:10 15:21     13:10           46:11,11
  37:23          testified 4:9      17:1,2 18:1   trial 10:17       11:22,24        26:15,16       40:10 47:3      47:16
  45:22,23       thank 4:14         18:23 20:4    triangle          12:2,15,18      39:2 47:9      47:20           48:12
  46:1 55:22       23:4 52:1        20:10,13,15     38:20           12:20 13:7      48:14          51:10           50:10 54:7
  56:7             54:16            22:7 24:8     tried 25:7        23:19           50:12          52:10           56:9 57:23
SUITE 1:20         58:11            24:15 25:6      40:6            25:12           51:10,16,19 WILLIAM...         59:10
sun 29:9,10        59:24 60:1       25:7 27:7     truly 55:14       26:12 27:2      52:6,13,15     3:4           year 11:5
supervision        60:5,5,9,10      27:19 28:1    try 5:12          27:3,9          53:20        wind 56:8         16:21 20:6
  61:18          Thanks 11:3        28:5,6,18       13:16           30:13,21        54:24        wire 38:9         20:7,8,8,17
sure 16:11       theft 38:10        29:22         trying 7:16       31:6 32:2       59:15,21     withdrew          27:24 29:4
  19:20          therapist          32:10,14,16     19:18           33:23          wanted 15:23    46:3            29:12
  23:21            37:15            32:16           22:21           34:15           25:10        WITNESS         years 20:1,2
  24:16 25:3     therapy            35:10,19        24:14           35:20           26:12 32:8     3:3 4:13,15     47:22,23
  29:14            18:10,12,13      36:9,11,13      25:12,18        40:13           33:5,7       wood 39:13        54:6,12
  30:15 32:1       18:17,20         37:2,4,11       32:23           41:13 42:2      39:23          40:7
  33:15            19:1,2,3,5       37:17,24        33:17 37:9      43:6,13,21     wasn't 18:7,8 word 33:6           Z
  37:16 38:6       19:11,15,24      38:10,16      turn 45:10      UNITED 1:1        20:2,2       words 17:9      Zoom 4:5
  48:16,24         20:11,14         39:8,10       turned 46:1     Units 9:5         26:18          40:18
  49:7 52:7        21:1 23:8        40:12         TV 26:23        upset 39:12       39:20        work 8:18,23          0
  55:18            32:17            41:13,17        59:13         usually 33:14    watching        35:1          006 53:14
switched           40:24 41:5       42:7 44:14    twice 30:24                       59:13        worry 50:8
  37:18            41:5 42:13       45:5 47:22    two 6:21 15:4         V          water 28:18     52:4                1
sworn 4:9          42:13            55:23           15:6,8        v 45:10,11        28:19        worst 40:8      1:04 60:14
                 thing 40:8         58:12 59:8      20:17 21:4      54:3           way 19:10     wouldn't        1014 8:18
      T            41:1 43:8        60:5,13         23:8 31:6     various 42:13     53:9,9,22      42:24 43:1    11:33 1:14
T 3:11 61:1,1      46:13         times 18:24        31:11 49:8      43:7            59:18,18       43:3,3        116 1:20
take 18:11         55:17 59:9       30:13,21        49:9,19       verbally 5:23    ways 47:17    wrap 41:1,4     12/21/2020
  25:1 26:16       59:12            31:6 35:14      52:16         verbatim         we're 8:21      54:19           49:7
  26:22          things 41:6     today 50:6         54:12           49:18           37:15        write 6:20      14th 58:5
  33:13 35:6       45:23            54:22         tying 38:23     Video 2:3        we've 49:24     48:16         15 38:11
  38:18            49:22,24         58:12,23      type 18:4       violations       week 18:24    written 5:22    1600 2:6
  51:19            50:5 59:22       60:6            41:20           45:16,19       weekly 28:15 wrong 25:16      18940 1:20
taken 1:13       think 10:9      told 25:9,11       43:10           54:10          welcome 4:15    26:11         19103 2:7
  61:5             14:24 20:3       26:10,13        56:14         virtually 1:13    60:7         wrote 15:3      1979 14:8


                                       STREHLOW & ASSOCIATES, INC.
                                             (215) 504-4622
